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U.S, DISTRICT COURT
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FEB-5 2021
IN THE UNITED STATES DISTRICT COURT -
FOR THE NORTHERN DISTRICT OF TEXAS, DBTRICP COURT
AMARILLO DIVISION By Et aan
[UNDER SEAL] 2- 21CV-O02Z8-%
Civil Action No.
Plaintiffs,
COMPLAINT FOR DAMAGES
v. UNDER THE FEDERAL
FALSE CLAIMS ACT AND
[UNDER SEAL] VARIOUS STATE FALSE
CLAIMS ACTS
Defendants.

FILED IN CAMERA AND
UNDER SEAL PURSUANT TO
31 U.S.C. § 3730(b

DO NOT ENTER INTO PACER

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION

UNITED STATES OF AMERICA,
ex rel. ALEX DOE, Relator,

THE STATE OF TEXAS,
ex rel. ALEX DOE, Relator,

THE STATE OF LOUISIANA,
ex rel. ALEX DOH, Relator,

Civil Action No.

COMPLAINT FOR DAMAGES
UNDER THE FEDERAL FALSE
CLAIMS ACT AND STATE
FALSE CLAIMS ACTS

Plaintiffs,

Vv.
FILED IN CAMERA AND
UNDER SEAL PURSUANT TO

31 U.S.C. § 3730(b)

DO NOT ENTER INTO PACER

PLANNED PARENTHOOD
FEDERATION OF AMERICA, INC.,
PLANNED PARENTHOOD GULF
COAST, INC., PLANNED
PARENTHOOD OF GREATER
TEXAS, INC., PLANNED
PLANNED PARENTHOOD SOUTH
TEXAS, INC., PLANNED
PARENTHOOD CAMERON
COUNTY, INC., PLANNED
PARENTHOOD SAN ANTONIO,
INC.,

 

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Defendants.

Relator Alex Doe (“Relator”) brings this lawsuit on behalf of the United States
of America (the “United States”), the State of Texas, and the State of Louisiana
(collectively the “Plaintiff States”), against Defendants Planned Parenthood
Federation of America, Inc., Planned Parenthood Gulf Coast, Inc., Planned

Parenthood of Greater Texas, Inc., Planned Parenthood South Texas, Inc., Planned

 
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Parenthood Cameron County, Inc., and Planned Parenthood San Antonio, Inc.,
(collectively “Defendants” or “Planned Parenthood”) for treble damages and civil
penalties pursuant to the False Claims Act, 31 U.S.C. §§ 3729 et seq. (“FCA”), the
Texas Medicaid Fraud Prevention Act, Tex. Hum. Res. Code §§ 36.001 ef seq.
(“TMFPA”), and the Louisiana Medical Assistance Programs Integrity Law, La. Rev.
Stat. §§ 46:437.1 et seq. ““LMAPIL”).

INTRODUCTION

1. This is a civil fraud action brought on behalf of the United States and
the States of Texas and Louisiana against Planned Parenthood to recover damages
and civil penalties owed to the United States and the Plaintiff States as the result of
Planned Parenthood having presented false or fraudulent claims for payment or
approval under the Medicaid program, and having concealed or improperly avoided
an obligation to repay money wrongfully obtained under the Medicaid program.

2. Planned Parenthood owns and operates abortion facilities and health
clinics in Texas and Louisiana with the purported purpose of providing medical
services, delivering pharmaceuticals, providing counseling and educational services
and materials for family planning and family planning preventative care, and
providing medication and surgical abortions. Planned Parenthood and its clinics are
grantees of state and federal funds provided through state programs and/or directly
through federal programs, including the Medicaid program.

3: From at least 2010 and continuing through 2020, Planned Parenthood

Defendants presented or caused to be presented thousands of false or fraudulent

 
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claims for payment for Medicaid services, received millions of dollars of payments
from state and federal funds for these false or fraudulent Medicaid claims, and failed
to report and pay to the government the money that Planned Parenthood received
from these false claims after it knew or should have known that it was not entitled to
keep the money.

A, Relator learned from an undercover investigation that Planned
Parenthood had violated and was continuing to violate numerous medical and ethical
standards and state and federal laws that relate to the provision of medical services
in a safe, legal, and ethical manner. Relator also learned through the undercover
investigation that Planned Parenthood had engaged in a pattern or practice of
submitting false or fraudulent claims for payment or approval under the Medicaid
program while failing to meet several material conditions for payment.

5. Relator contacted federal and state law enforcement and government
officials and provided material non-public information and evidence of Planned
Parenthood’s violations of medical and ethical standards and state and federal laws.
Based on the information and evidence provided by Relator, the Plaintiff States
determined that Planned Parenthood was not qualified to participate in the Medicaid
program under applicable state and federal laws governing provider qualifications.
The Plaintiff States informed Planned Parenthood of their determination that
Planned Parenthood was not qualified to participate in the Medicaid program and

that its enrollment would be terminated.

 
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6. Planned Parenthood failed to contest the Plaintiff States’
determinations through state administrative proceedings granted under the
Medicaid Act by the States to allow providers to dispute an incorrect or unfounded
disqualification. Planned Parenthood’s termination from the Louisiana Medicaid
program became final under state law on or about October 15, 2015. Planned
Parenthood’s termination from the Texas Medicaid program became final under state
law on January 19, 2017.

7. Planned Parenthood filed lawsuits in federal courts in Louisiana and
Texas challenging the Plaintiff States’ determination that Planned Parenthood was
not a qualified provider under the Medicaid statutes and regulations and disputing
the information and evidence that Relator had obtained and provided to the Plaintiff
States. The federal district courts in Louisiana and Texas issued preliminary
injunctions on Planned Parenthood’s claims.

8. Planned Parenthood continued to submit claims for payment for
Medicaid services even after the Plaintiff States had informed Planned Parenthood
that they were not qualified to provide Medicaid services or receive payments of state
or federal funds under the Medicaid program. The Plaintiff States were forced to
continue making payments to Planned Parenthood for these claims pursuant to the
preliminary injunctions. Thus, Planned Parenthood continued to submit claims for
payments for Medicaid services while the Louisiana and Texas lawsuits were pending

and received millions of dollars of payments of state and federal funds under the

 
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Medicaid program after the Plaintiff States had disqualified and terminated them
from the Medicaid program.

9. On January 17, 2019, the United States Court of Appeals for the Fifth
Circuit vacated the preliminary injunction in the Texas case and discussed the
information and evidence that Relator had provided to the States from the undercover
investigation showing numerous violations of medical and ethical standards and
state and federal laws, which the Plaintiff States had relied upon in determining that
Planned Parenthood was not qualified to participate in the Medicaid program. Judge
Jones wrote separately to say that a prior decision in the Louisiana case was wrongly
decided and the Court should grant en banc review to reconsider it. On February 4,
2019, the en banc Fifth Circuit agreed to rehear the case on its own motion.

10. On November 23, 2020, the en banc Fifth Circuit vacated the
preliminary injunction in the Texas case, and reversed the Louisiana case. Seven
judges in the majority wrote separately, affirming Texas’ determination that Planned
Parenthood was not a qualified provider based on the information that Relator had
provided to the state and federal governments.

11. Planned Parenthood therefore became aware no later than November
23, 2020 that it had knowingly presented or caused to be presented millions of dollars
of false or fraudulent claims for payment or approval under the Medicaid program.
From at least January 2010 through 2015, Planned Parenthood violated the FCA,
TMFPA, and LMAPIL by submitting claims and receiving payments from the United

States and the Plaintiff States for Medicaid services while failing to comply with

 
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material requirements placed on Medicaid providers by the law. And every claim that
Planned Parenthood submitted after its disqualification in 2015 or 2016 was a false
or fraudulent claim that resulted in an overpayment of federal and state funds to
Planned Parenthood. Planned Parenthood violated the FCA, TMFPA, and LMAPIL
by failing to report or repay to the United States or the Plaintiff States within the
statutorily required time period the overpayments that it had received under the
Medicaid program.

12. Relator learned that Planned Parenthood submitted claims and received
payments from the federal government and the Plaintiff States of millions of dollars
in state and federal Medicaid funds to which they are not entitled. Upon information
and belief, Planned Parenthood did not report or return any of these funds to the
United States or the Plaintiff States after it became aware, or should have become
aware, it had an obligation to do so within the statutorily required time period. Prior
to filing this lawsuit, Relator notified federal and state authorities of Planned
Parenthood’s illegal conduct. Planned Parenthood’s violations of the FCA, TMIFPA,
and LMAPIL — by submitting false or fraudulent claims for payment under the
Medicaid program, and by failing to return overpayments — were publicly unknown
at this time and at the time this lawsuit was filed.

PARTIES

13. Relator Alex Doe is a citizen of the United States and a resident of the

State of California. From 2013 to 2015, Relator conducted an extensive undercover

investigation of Planned Parenthood, including its medical services, abortion

 

 
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services, compliance with state and federal laws, fetal tissue donation and research
program, internal business practices, corporate structure and affiliation, finances,
and other information. Relator brings this action based on direct, independent,
unique, and personal knowledge obtained during and after the investigation of
Planned Parenthood. Relator voluntarily disclosed this information to the United
States and the Plaintiff States prior to public disclosure and before filing this action.

14. Relator has already experienced harassment, threats, intimidation, and
retaliation, including retaliation by Planned Parenthood, and thus reasonably fears
further harassment, threats, intimidation, and retaliation if Relator’s identity is
disclosed publicly in connection with this lawsuit. Thus, Relator intends to shortly
file a motion for protective order to permit Relator to proceed in this case under a
pseudonym and to allow safe disclosure of Relator’s identity to other counsel in this
case.

15. Defendants Planned Parenthood Federation of America, Planned
Parenthood Gulf Coast, Inc., Planned Parenthood of Greater Texas, Inc., and Planned
Parenthood South Texas, are a system of affiliated entities operating as and
collectively referred to herein as “Planned Parenthood.” Planned Parenthood provides
women’s health services and abortion services at clinics in the State of Texas and the
State of Louisiana, including Medicaid services that are the subject of this action.

16. Defendant Planned Parenthood Federation of America, Inc. (“PPFA”) is
a New York corporation that has over 50 affiliate organizations that provide health

care services and abortion services in every State, including the other Defendants in

 
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this case. PPFA provides significant monetary support to these affiliates as well as
other types of support and control, such as directives, marketing, communications,
requirements, standards, policies, and accreditation for affiliates providing medical
care, insurance coverage, legal counsel and representation, and direct support for the
provision of healthcare services.

17. PPFA maintains its executive and corporate administrative offices at
123 Williams Street, Tenth Floor, New York City, New York.

18. Defendant Planned Parenthood Gulf Coast, Inc. (“PPGC”) is a Texas
corporation and an affiliate of PPFA that provides health services and abortion
services at clinics in the State of Texas and health services at two clinics in the State
of Louisiana. PPGC and its clinics are grantees or recipients of federal funds provided
through Texas and Louisiana programs and/or provided directly through United
States programs.

19. PPGC maintains its executive and corporate administrative offices at
4600 Gulf Freeway, Houston, Texas, and provides medical services at the following
clinics: (1) Fannin Clinic in Houston, Texas; (2) Greenbriar Clinic in Stafford, Texas;
(3) 1960 Clinic in Houston, Texas; (4) Southwest Clinic in Houston, Texas; (5) Lufkin
Clinic in Lufkin, Texas; (6) Bryan Clinic in Bryan, Texas; (7) Huntsville Clinic in
Huntsville, Texas; (8) Greenspoint Clinic in Houston, Texas; (9) Dickinson Clinic in
Dickinson, Texas; (10) Rosenberg Clinic in Rosenberg, Texas; (11) Baton Rouge Clinic

in Baton Rouge, Louisiana; and (12) New Orleans Clinic in New Orleans, Louisiana.

 

 
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20. Defendant Planned Parenthood of Greater Texas, Inc. (“PPGT”) is a
Texas corporation and an affiliate of PPFA that provides women’s health services and
abortion services at clinics in the State of Texas. PPGT and its clinics are grantees or
recipients of federal funds provided through Texas and Louisiana programs and/or
provided directly through United States programs.

21. PPGT maintains its executive and corporate administrative offices at
7424 Greenville Avenue, Dallas, Texas, and provides medical services at the following
clinics: (1) Addison Health Center in Addison, Texas; (2) Arlington Health Center in
Arlington, Texas; (3) Bedford Health Center in Bedford, Texas; (4) Cedar Hill Health
Center in Cedar Hill, Texas; (5) North Dallas Shelburne Health Center in Dallas,
Texas; (6) South Dallas Surgical Health Services Center in Dallas, Texas; (7) Lubbock
Health Center in Lubbock, Texas; (8) Southeast Fort Worth Health Center in Fort
Worth, Texas; (9) Southwest Fort Worth Health Center in Fort Worth, Texas; (10)
Southwest Fort Worth Surgical Health Services Center in Fort Worth, Texas; (11)
Mesquite Health Center in Mesquite, Texas; and (12) Plano Health Center in Plano,
Texas.

22. Defendant Planned Parenthood of South Texas, Inc. is a Texas
corporation and affiliate of PPFA that is a parent corporation of three other
corporations, Defendant Planned Parenthood Cameron County, Defendant Planned
Parenthood San Antonio (hereinafter referred to collectively as “PPST”), and Planned
Parenthood South Texas Surgical Center, which provides women’s health services

and abortion services at clinics in the State of Texas. PPST and its clinics are grantees

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or recipients of federal funds provided through Texas and Louisiana programs and/or
provided directly through United States programs.

23. PPST maintains its executive and corporate administrative offices at
2140 Babcock Road, San Antonio, Texas and provides medical services at the
following clinics: Planned Parenthood-Harlingen in Harlingen, Texas; Planned
Parenthood-Southeast in San Antonio, Texas; Planned Parenthood-San Pedro 150 in
San Antonio, Texas; Planned Parenthood-San Pedro in San Antonio, Texas, Planned
Parenthood-Northeast in San Antonio, Texas; Planned Parenthood-Marbach in San
Antonio, Texas; Planned Parenthood-South Texas Medical Center in San Antonio,
Texas; and Planned Parenthood-Brownsville in Brownsville, Texas.

JURISDICTION & VENUE

24. This Court has jurisdiction over this action pursuant to 31 U.S.C.
§ 3732(a) and 28 U.S.C. §§ 1331 and 1345 because this civil action arises under the
laws of the United States and the United States is a real party in interest.

25. Relator brings this action under the federal False Claims Act, 31 U.S.C.
§§ 3729 et seq., to recover treble damages, civil penalties, and costs of suit, including
reasonable attorneys’ fees and expenses. Relator brings this action and his claims on
behalf of the United States pursuant to 31 U.S.C. §§ 3730(b) and 3730(e)(4), and
Relator has satisfied all conditions precedent to his participation as Relator.
Pursuant to 31 U.S.C. § 3730(e)(4)(A), the allegations contained herein have not been

publicly disclosed as defined by the federal False Claims Act, or alternatively, Relator

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qualifies as an “original source” within the meaning of 31 U.S.C. § 3730(e)(4)(A) and
(B).

26. Relator has voluntarily provided to the Attorney General of the United
States and the Acting United States Attorney for the Northern District of Texas, prior
to filing this Complaint, a statement of substantially all material evidence and
information in Relator’s possession related to the claims. Because the statement
includes attorney-client communications and work product of Relator’s attorneys and
is submitted to the Attorney General and to the United States Attorney in their
capacity as potential co-counsel in this litigation, Relator understands this disclosure
to be confidential and privileged.

27. This Court has jurisdiction over Relator’s state law claims pursuant to
31 U.S.C. § 3732(b) because those claims arise from the same transaction or
occurrence as Relator’s claims under the federal False Claims Act, 31 U.S.C. §§ 3729
et seq.

28. Additionally, this Court has supplemental jurisdiction over Relator’s
state law claims pursuant to 28 U.S.C § 1367(a) because those claims form part of the
same case or controversy under Article III of the United States Constitution as
Relator’s claims under the federal False Claims Act, 31 U.S.C. §§ 3729 et seq.

29. Pursuant to the Texas Medicaid Fraud Prevention Act, Tex. Hum. Res.
Code § 36.102(a), and the Louisiana Medical Assistance Programs Integrity Law, La.
Rev. Stat. § 46:439.1(D)(2), Relator has provided to the Attorneys General of Texas

and Louisiana prior to filing this Complaint, a statement of substantially all material

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evidence and information in Relator’s possession related to the claims. Because the
statement includes attorney-client communications and work product of Relator’s
attorneys and is submitted to the Attorneys General in their capacity as potential co-
counsel in this litigation, Relator understands this disclosure to be confidential and
privileged.

30. Personal jurisdiction and venue are proper in the Northern District of
Texas pursuant to 28 U.S.C. § 1391(b)-(c) and 31 U.S.C. § 3732(a), because one or
more of the Defendants may be found in, resides in, or transacts business, or has
committed any act proscribed by 31 U.S.C. §§ 3729 et seq. in this judicial district.
Specifically, at all times material and relevant, one or more of the Defendants did
transact and do business at several abortion clinics or health clinics located within
the Northern District of Texas.

31. Under 31 U.S.C. § 3730(b)(2), this Complaint is to be filed in-camera and
remain under seal for a period of sixty (60) days and shall not be served on Defendants
until the Court so orders. The federal government may elect to intervene and proceed
with this lawsuit within sixty (60) days after it receives both the Complaint and the
material evidence known to Relator at the time of his filing, establishing the existence
of the false claims. The Plaintiff States may elect to intervene and proceed with this
lawsuit within sixty (60) days after it receives both the Complaint and the material
evidence known to Relator at the time of his filing, establishing the existence of the

false claims.

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FACTS
A. The Medicaid Program and State Administration

32. Pursuant to Title XIX of the Social Security Act, 42 U.S.C. §§ 1896 et
seq., the Medicaid Program (“Medicaid”) was established in 1965 as a joint federal
and state program to provide financial assistance to individuals with low incomes to
enable them to receive medical care. Under Medicaid, each State establishes its own
eligibility standards, provider qualifications, and program administration in
accordance with certain federal statutory and regulatory requirements. The State
pays the healthcare providers for services rendered to Medicaid recipients, with the
state obtaining the federal share of the Medicaid payments from accounts that draw
on the United States Treasury. See generally 42 C.F.R. §§ 430.0-.30.

38. Under Title XIX of the Social Security Act, each state must establish an
agency to administer its Medicaid program according to federal guidelines. Texas
administers its Medicaid program through the Health and Human Services
Commission. Louisiana administers its Medicaid program through the Department
of Health and Hospitals.

34, Federal law regarding Medicaid funding requires States receiving such
funds to adopt State plans for medical assistance that contain specified content and
are approved by the Secretary of the Health and Human Services. Federal law
expressly restricts those entities qualified to provide Medicaid-covered family
planning services to entities that are eligible for payments under a State Medicaid

plan.

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35. Each State has broad discretion to implement the Medicaid Act, as well
as broad authority to define provider qualifications and to exclude providers on that
basis. If a provider is qualified to participate in a State Medicaid plan, it may submit
claims for reimbursement by the State for services provided to Medicaid recipients.

36. Consistent with federal law, and to ensure the safety of its Medicaid
recipients, Texas and Louisiana law impose rigorous standards and requirements on
Medicaid providers. Both Texas and Louisiana require Medicaid providers to comply
with federal and state laws and regulations and to ensure that its employees and
agents provide services in compliance with accepted medical and ethical standards
as a condition of receiving Medicaid reimbursements.

i, Texas Medicaid Program - Provider Qualifications

387. According to the Texas Health and Human Services Commission
(“HHSC”), which oversees the Texas Medicaid Program, medical providers who desire
to be eligible for Medicaid payments must complete a Texas Medicaid Provider
Enrollment Application and enter into a written agreement with the State. Federal
Medicaid regulations likewise require such an agreement and mandate that all Texas
providers must revalidate their enrollment in the Texas Medicaid Program every
three or five years based on provider type. Thus, Planned Parenthood was required,
as a condition of enrollment and participation in the Texas Medicaid Program, to
enter into a written HHSC Medicaid Provider Agreement (“Texas Provider

Agreement’), and to periodically revalidate its enrollment.

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38. By signing the Texas Provider Agreement, a provider certifies its
understanding of and willingness to comply with the terms of the Agreement, as well
as its understanding that concealment of a material fact or pertinent omissions may
constitute fraud and may be prosecuted under applicable federal and state law. The
provider further certifies its understanding and agreement that any falsification,
omission, or misrepresentation in connection with the application for enrollment or
with claims filed may result in all paid services declared as an overpayment. And the
provider certifies and agrees that it has an affirmative duty to refund any
overpayments, duplicate payments and erroneous payments that are paid to the
provider by Medicaid as soon as such payment is discovered or reasonably should
have been known.

39. The Texas Provider Agreement incorporates by reference the Texas
Medicaid Provider Procedures Manual (“Texas Provider Manual”) and mandates that
providers comply with all requirements of the Provider Manual, as well as all state
and federal laws governing or regulating Medicaid. The Texas Provider Manual
mandates that providers are responsible for the delivery of healthcare services in
accordance with accepted medical community standards.

40. By signing the Texas Provider Agreement and enrolling in the Texas
Medicaid Program, Planned Parenthood certified that it understood and would

comply with all the requirements thereof.

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li. Louisiana Medicaid Program - Provider Qualifications

41. According to the Louisiana Department of Health (“LDH”), which
oversees the Louisiana Medicaid Program, medical providers who desire to be eligible
for Medicaid reimbursements must complete a Louisiana Medicaid Provider
Enrollment Packet and enter into a written agreement with the state. Federal
Medicaid regulations likewise require such an agreement and mandate that all
Louisiana providers must revalidate their enrollment in the Louisiana Medicaid
Program every three or five years based on provider type. Thus, Planned Parenthood
was required, as a condition of enrollment and participation in the Louisiana
Medicaid Program, to enter into a written Louisiana Provider Agreement (“Louisiana
Provider Agreement”), and to periodically revalidate its enrollment.

42. The Louisiana Provider Agreement mandates that providers comply
with all federal or state laws, regulations, policies, rules, criteria, or procedures,
applicable to the Louisiana Medicaid Program.

43. By signing the Louisiana Provider Agreement, a provider certifies its
understanding of and willingness to comply with the terms of the Agreement and all
policies and regulations. The provider further certifies its understanding that
payment and satisfaction of all claims submitted to the Louisiana Medicaid Program
will be paid and satisfied from federal and state funds, and that any false claims,
statements or documents, or concealment of a material fact, may be prosecuted under
applicable federal and state laws including the provisions of the federal FCA and any

Louisiana laws and rules pertaining to civil or criminal penalties for false claims and

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statements. The provider also agrees to report and refund any discovered
overpayments within sixty (60) days of discovery.

44. The Louisiana Medicaid Services Manual (“Louisiana Provider
Manual’) contains additional information to which all enrolled providers must
adhere, and the terms and conditions for a provider to participate in the Louisiana
Medicaid Program.

45. The Louisiana Provider Manual provides that in order to receive
reimbursement for healthcare services provided to Medicaid recipients, the provider
must be enrolled to participate in the Louisiana Medicaid Program, meet all licensing
and/or certification requirements inherent to the healthcare profession, and comply
with all other requirements in accordance with all federal and state laws and
Louisiana Bureau of Health Services Financing policies. The Louisiana Provider
Manual further provides that when enrolled in the Louisiana Medicaid Program, a
provider agrees to abide by all applicable state and federal laws and regulations and
policies established by the federal Centers for Medicare and Medicaid Services
(“CMS”) and LDH. It also informs providers that they are responsible for knowing
the terms of the Louisiana Provider Agreement, program standards, statutes and
penalties for violations.

46. By signing the Provider Agreement and enrolling in the Louisiana
Medicaid Program, Planned Parenthood certified that it understood and would

comply with all the requirements thereof.

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B. Federal False Claims Act

47. The FCA, 31 U.S.C. §§ 3729 et seq., reflects Congress’s goal to “enhance
the Government’s ability to recover losses as a result of fraud against the
Government.” 5S. Rep. No. 99-345, at 1 (1986), available at 1986 U.S.C.C.A.N. 5266.
The FCA establishes civil penalties and treble damages liability for an individual or
entity that knowingly makes, uses, or causes to be presented, a false or fraudulent
claim for payment or approval. 31 U.S.C. § 3729(a)(1)(A). An individual or entity
violates this provision of the FCA by making an implied false certification if it submits
a claim for payment and knowingly fails to disclose its noncompliance with a
statutory, regulatory, or contractual requirement that renders the individual’s
representations about its services misleading.

48. The FCA also establishes civil penalties and treble damages liability for
an individual or entity that knowingly conceals or knowingly and improperly avoids
or decreases an obligation to pay or transmit money or property to the Government.
31 U.S.C. § 3729(a)(1)(G). An “obligation” under the FCA includes the “retention of
any overpayment.” Jd. § 3729(b)(8).

49. Section 6402(a) of the Patient Protection and Affordable Care Act of
2010, Pub. L. No. 111-148, 124 Stat. 119, 753-56 (2010), amended the Social Security
Act by adding new provisions that address what constitutes an overpayment under
the FCA in the context of a federal health care program. Under this section, an
overpayment is defined as “any funds that a person receives or retains under Title

XVIII or XIX to which the person, after applicable reconciliation, is not entitled.” See

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42, U.S.C. § 1320a-7k(d)(4)(B). In addition, this provision specifies in relevant part
that an “overpayment must be reported and returned” within “60 days after the date
on which the overpayment was identified.” Id. § 13820a-7k(d)(2). Failure to return an
overpayment within 60 days after the date on which the overpayment was identified
constitutes a reverse false claim actionable under the FCA. 31 U.S.C. § 3729(a)(1)(G).

50. The FCA also imposes liability on an individual or entity who conspires
to commit a violation of the FCA. Id. § 3729(a)(1)(C).

51. An individual or entity that violates the FCA is liable for a civil penalty
of at least $5,500 and no more than $11,000 for each claim or overpayment, plus
damages of three times the amount of each claim or overpayment. Id. § 3729(a)(1).

C. Texas Medicaid Fraud Prevention Act

BZ. The TMFPA establishes a cause of action for false claims in the Texas
Medicaid Program. Tex. Hum. Res. Code §§ 36.001 et seq. The TMFPA provides that
the Texas Attorney General or a private citizen may prosecute cases under the
TMFPA in the name of the State of Texas. Id. § 36.101.

53. The TMFPA establishes civil penalties and treble damages liability for
an individual or entity that knowingly conceals or fails to disclose information that
permits a person to receive a benefit or payment under the Medicaid program that 1s
not authorized. Id. § 36.002(2).

54. The TMFPA also establishes civil penalties and treble damages liability
for an individual or entity that knowingly makes, causes to be made, induces, or seeks

to induce the making of a false statement or misrepresentation of material fact

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concerning (A) the conditions or operation of a facility in order that the facility may
qualify for certification or recertification required by the Medicaid program, or (B)
information required to be provided by a federal or state law, rule, regulation, or
provider agreement pertaining to the Medicaid program Jd. § 36.002(4).

55. The TMFPA was amended in 2013 to mirror 31 U.S.C. § 3729(a)(1)(G)
and establishes civil penalties and treble damages liability for an individual or entity
that knowingly conceals or knowingly and improperly avoids or decreases an
obligation to pay or transmit money or property to the state under the Medicaid
program. Tex. Hum. Res. Code § 36.002(12). Failure to return any overpayment
within 60 days after the date on which the overpayment was identified constitutes a
reverse false claim actionable under the TMFPA. Id. The amendments to the TMFPA
also impose liability on an individual or entity who conspires to commit a violation of
the TMFPA. Id. § 36.002(9).

56. An individual or entity that violates the TMI PA is liable for a civil
penalty of at least $5,500 and no more than $11,000 for each claim or overpayment,
plus damages of three times the amount of each claim or overpayment. Id.
§ 36.052(3)(B).

D. Louisiana Medical Assistance Programs Integrity Law

57. The Louisiana Medical Assistance Programs Integrity Law (““LMAPIL”)

establishes a cause of action for false claims in the Louisiana Medicaid Program. La.

Rev. Stat. §§ 46:438.1, .8. The LMAPIL provides that the Louisiana Attorney General

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or a private citizen may prosecute cases under the LMAPIL in the name of the State
of Louisiana. Id. §§ 46:438.3, 439.1.

58. The LMAPIL establishes civil penalties and treble damages liability for
an individual or entity that knowingly presents or causes to be presented a false or
fraudulent claim. Id. §§ 46:438.3(A), 438.6(B).

59. The LMAPIL establishes civil penalties and treble damages liability for
an individual or entity that knowingly conceals, avoids, or decreases an obligation to
pay or transmit money or property to the medical assistance programs. Id.
§ 46:438.3(C). Failure to return any overpayment within 60 days after the date on
which the overpayment was identified constitutes a reverse false claim actionable
under the LMAPIL. Id. § 46:438.3(C).

60. The LMAPIL also imposes liability on an individual or entity who
conspires to commit a violation of the LMAPIL. Id. § 46:438.3(D).

61. An individual or entity that violates the LMAPIL is liable for a civil
penalty of at least $5,500 and no more than $11,000 for each claim or overpayment,
plus damages of three times the amount of each claim or overpayment. Id. § 46:438.6.

E. Planned Parenthood’s Fraudulent Claims

i. Relator’s Investigation Uncovers Planned Parenthood’s
Violations of Federal and State Law and Medical and Ethical
Standards.

62. Based on information Relator obtained while investigating the issue of

fetal tissue research, Relator believed that Planned Parenthood was providing fetal

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tissue from the abortions they perform to researchers and/or tissue procurement
companies.

63. Upon information and belief, around twenty years ago, some Planned
Parenthood abortion clinics began providing fetal tissue to researchers and/or
procurement companies, including Planned Parenthood clinics in Kansas, California,
and Texas.

64. From 20138 to 2015, Relator conducted an undercover investigation to
determine whether Planned Parenthood’s fetal tissue procurement practices were
continuing, and if they were legal and/or ethical.

65. As part of the journalistic investigation, Relator and others attended
abortion-related conferences and met with Planned Parenthood officials to discuss
fetal tissue procurement. The investigators told Planned Parenthood officials they
were representatives of a tissue procurement company modeled after companies that
had done business with Planned Parenthood affiliates and sold fetal tissue obtained
from Planned Parenthood. During these interactions, the investigators wore hidden
cameras to record the candid statements of Planned Parenthood officials regarding
these activities. The information described below in {| 66-78 was uncovered during
the investigation.

66. These conversations revealed that PPFA officials as well as officials at
individual PPFA affiliates were eager to obtain fetal tissue for procurement

companies, and that PPFA officials expected monetary payments in return.

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67. During one lunch meeting, a PPFA official and abortion doctor joked
that she “want[ed] a Lamborghini” when discussing the amount of money the
procurement company would pay for each fetal specimen Planned Parenthood
obtained. She haggled over the price offered, saying that seemed low and that she
“would have to see what others were getting” before agreeing. She also discussed the
possibility of modifying second-trimester abortion procedures to be “less crunchy” in
order to obtain more intact specimens.

68. During another lunch meeting with investigators, another PPFA official
and abortion doctor discussed modifying second-trimester abortion procedures to
obtain more intact specimens in greater detail: “So then you're just kind of cognizant
of where you put your graspers, you try to intentionally go above and below the
thorax, so that, you know, we’ve been very good at getting heart, lung, liver, because
we know that, so ’m not gonna crush that part, I’m going to basically crush below,
Tm gonna crush above, and I’m gonna see if I can get it all intact.”

69. During most second-trimester abortion procedures, the dilation-and-
evacuation method is used. That abortion method requires the doctor to use forceps
to tear the fetus’s body into pieces, which results in the fetus’s death. For example,
the doctor will reach into the uterus with the forceps and grasp some portion of the
fetus—an arm or a leg, for instance. The doctor will then use force to pull the forceps
out of the mother. The mother’s cervix often creates traction with the rest of the fetus,

which results in the limb grasped by the forceps to be torn away from the rest of the

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fetus’s body. If there is greater dilation of the cervix, that traction is absent, meaning
that a pull of the forceps may result in delivery of the whole fetus.

70. Asa result, some doctors use a feticide, most commonly a drug called
digoxin, to cause the fetus’s death before it is extracted. This helps to ensure that a
fetus that may come out intact is not born alive and so that the doctor does not violate
the federal Partial-Birth Abortion Ban, which prohibits killing a live fetus that has
been delivered past a certain anatomical point. But digoxin compromises fetal tissue,
so if the tissue is intended to be used in research, digoxin may not be used. Thus, the
more intact a fetus intended to be used in research is when it is extracted from the
womb, the greater the chance the fetus is alive when that happens.

71. Babies born at only 21 weeks’ gestation have survived. However,
abortion is legal in Texas until 22 weeks’ gestation (or 20 weeks post-fertilization).
See Tex. Health & Safety Code § 171.044.

72. After meeting officials from PPGC at conferences and discussing the
procurement company’s interest in obtaining fetal tissue from PPGC’s abortions and
PPGC’s interest in providing it, Relator and other investigators were invited in April
2015 to meet in person with PPGC’s Research Director, Melissa Farrell, to discuss
the possibility of entering into an agreement to provide fetal tissue from second-
trimester abortions.

73. The investigators recorded their meetings with Farrell and PPGC’s

abortion clinic Administrator Tram Nguyen.

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74. Farrell told investigators that their abortion doctors had participated in
fetal tissue research and collected their own specimens. She identified a particular
PPGC abortion doctor who would collect fetal tissue for her own research while
performing abortions at PPGC. Farrell stated that the doctor would look at the
patient schedule and pick the patients she wanted staff to get to consent to donate
fetal tissue based on whether she could use the fetal tissue for her research. This
doctor would collect her own specimens during the abortion and take the fetal tissue
“home with her in her cooler.”

75. Farrell told investigators that researchers and abortion doctors working
at PPGC have targeted specific portions of fetal tissue and that PPGC’s doctors are
willing to alter abortion procedures to obtain better research specimens. For instance,
Farrell stated that PPGC can get “creative” in performing the abortion procedure to
obtain more intact liver, thymus, and neural (brain) tissue. She explained that PPGC
was willing to explore how it could increase the chances of obtaining intact fetal
specimens by altering the abortion procedure and confirmed that when abortion
doctors in the past have needed an intact specimen, they can “make it happen.” After
discussing how changes to the abortion procedure should protect patient safety,
Farrell also stated that abortion procedures have been altered in the past when their
doctors have been involved in research: “Because some of our doctors in the past have
[had] projects, and they’re collecting the specimens so they do it in a way that they
get the best specimen. So I know it can happen.” She also said PPGC can be “flexible

to do whatever” in terms of an abortion procedure.

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76. Nguyen also confirmed that PPGC could obtain intact liver, thymus, and
neural tissue specimens. She stated, while laughing, that although PPGC doctors
must sign a form stating that they did not “intend” to complete the abortion procedure
by removing an intact fetus (because of the state and federal laws prohibiting partial-
birth abortions), PPGC could nevertheless provide intact fetal specimens. During a
conversation regarding what factors contribute to obtaining an intact thymus,
Nguyen explained that obtaining intact specimens depends on the amount of cervical
dilation PPGC can achieve and the patient’s pain tolerance. Nguyen stated that
PPGC has done things that other people are “not necessarily comfortable with” in the
context of fetal-tissue procurement. Nguyen also explained that these “other things”
create more risk. Nevertheless, Nguyen explained PPGC was willing to take this risk
because “it is for a good cause.”

77. When asked whether PPGC’s doctors were experienced enough to
provide intact fetal specimens, both Farrell and Nguyen confirmed that two
particular PPGC doctors could alter the procedure to meet researchers’ requests.
Nguyen stated that these doctors are experienced in this area because they both have
research backgrounds and one is actively engaged in research. Farrell also discussed
“alter[ing] PPGC’s “process” to obtain “intact fetal cadavers” that will provide more
than once specimen for research—for example, one fetus providing neural tissue as
well as liver and thymus. PPGC officials told Relator that PPGC doctors do not use

digoxin in their abortion procedures.

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78. Farrell asserted that even though PPGC is “already set up” to do the
fetal-tissue procurement, “we will definitely need to work out, you know, something
in terms of covering additional costs for additional .. . things related to it.” Farrell
explained how she uses a contract’s language to make it seem that payments are
going only to “administrative costs” rather than a quid pro quo payment for fetal
specimens, which she admitted is “touchy” under federal law: “I’m very particular
about working with the language of the budget and contract to where the language is
specific to covering the administrative costs and not necessarily the per specimen.
Because that borders on some language in the federal regs, it’s a little touchy.” Yet
Farrell agreed that researchers would not want to pay for unusable fetal specimens,
and so PPGC’s payment structure could be tied to successfully obtaining the desired
fetal tissue while disguising the quid pro quo. Farrell discussed how she creates a
profit margin in a budget, and how researchers can incentivize PPGC employees to
enroll patients to donate fetal tissue through buying meals for the staff as a bonus
and listing it under the nebulous category of “meeting cost.” Farrell made PPGC’s
financial interest in its fetal tissue provision clear, despite their nonprofit status,
when she replied to the investigator’s statement, “I just don’t want it to turn into a
situation where it’s not financially beneficial for you,” by explaining, “We definitely
want to do that. Because that’s what staff and management need to see.”

79.  Beleving these statements provided evidence of wrongdoing, Relator
provided the entire unedited video footage of these meetings to government officials

and law enforcement entities, including the Texas Attorney General beginning in

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June 2015. This footage, with redactions to protect patient privacy, is now available
on the Fifth Circuit’s website. See Planned Parenthood of Greater Tex. Family
Planning & Preventative Health Servs., Inc. v. Kauffman, 981 F.3d 347, 382 n.10 (5th
Cir. 2020) (Elrod, J., concurring).

80. The information about Planned Parenthood’s activities uncovered by
Relator’s investigation prompted investigations by the U.S. House of
Representatives, the U.S. Department of Justice, the FBI, and by the State of Texas.

81. Relator began releasing some of the undercover videos to the public via
YouTube on July 14, 2015. Relator posted both summary video reports and the full
footage of the conversations with Planned Parenthood officials. On August 4, 2015,
Relator posted a summary report and full footage of the conversations with PPGC
officials.

82. Based in part on PPGC’s statements in the undercover videos, LDH
notified PPGC on September 15, 2015 that PPGC would be excluded from the
Louisiana Medicaid program because the State had determined PPGC was not a
qualified Medicaid provider. See Exhibit A.

83. PPGC did not challenge this determination in state administrative
proceedings. The termination became final under state law on October 15, 2015. See
id.

84. Based on PPGC’s statements in the undercover videos, the Texas Office
of the Inspector General (OIG) sent an initial notice of termination to PPGC, PPGT,

and PPST on October 15, 2015. See Exhibit B. The letter stated that the video

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provided evidence that PPGC had violated state and federal law, and PPGC and its
affiliates PPGT and PPST were therefore unqualified to provide Medicaid services in
Texas.

85. PPGC, PPGT, and PPST did not challenge this initial determination in
state administrative proceedings.

86. Both Farrell and Nguyen were promoted to executive Vice President
positions at PPGC after the release of the videos. Nguyen is still employed at PPGC.
Farrell was employed by PPGC until late 2019, when she began working in senior
leadership at a nearby clinical research and tissue procurement company. Planned
Parenthood has never disclaimed Farrell and Nguyen’s statements on the video. And
additional information uncovered as a result of Relator’s undercover investigation
showed that Farrell’s statements about PPGC’s history with fetal tissue procurement
were true.

87. In 2010 and 2011, PPGC agreed to provide fetal tissue to NIH-funded
researchers from the University of Texas Medical Branch (“UTMB?’). In exchange for
providing the tissue, which PPGC would obtain by getting abortion patients to donate
it, UTMB paid Planned Parenthood approximately $21,000.

88. The doctor named by Farrell as a doctor who would obtain her own
tissue samples for her research while performing abortions at PPGC was a researcher
involved in the UTMB study.

89. In 2013, PPGC began negotiating with Baylor College of Medicine to

provide second-trimester fetal cadavers for a research study. In particular, the

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researcher wanted liver, thymus, CD34+ hematopoietic stem cells, lungs, kidneys,
and skin tissue from second-trimester fetuses.

90, PPGC and Baylor negotiated over the terms of the contract and the
financial compensation that would be provided. PPGC backed out of the negotiations
after official investigations were prompted by the videos released from Relator’s
investigation.

91. After further investigation, including close review of the undercover
video, a transcript of the video, information provided in a referral from the U.S. House
of Representatives Select Investigative Committee and in their Final Report, and
consultation with a medical expert, OIG sent a final notice of termination to PPGC,
PPGT, and PPST on December 20, 2016. See Exhibit C.

92. PPGC, PPGT, and PPST never contested the termination in state
administrative proceedings. The termination became final under Texas law on
January 19, 2017. See id.

93. The notice explained several ways Texas had concluded that PPGC had
violated federal and state law and medical and ethical standards and explained that
state law permitted the termination of affiliates of entities that had engaged in such
wrongdoing, which meant that PPGT and PPST would also be terminated. See id.

94, Some of those regulations forbid researchers from taking “part in any
decisions as to the timing, method, or procedures used to terminate [a] pregnancy
made solely for the purposes of the research.” 42 U.S.C. § 289g-1(c)(4); see also 45

C.F.R. § 46.2047). The undercover video footage obtained by Relator showed that

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PPGC has permitted doctors involved in fetal-tissue research to perform abortions to
secure that fetal tissue. See {| 74; Exhibit C.

95. Other regulations expressly forbid the alteration of the timing or method
of an abortion for research purposes. See 42 U.S.C. § 289g-1(b)(2)(A)Gi). Many
statements in the video indicate that PPGC doctors had done this. For example,
Farrell stated that researchers connected to PPGC have targeted specific fetal tissue
in the past and that PPGC is willing to alter the abortion procedures to meet the
needs of those researchers. See (75-77; Exhibit C.

96. Still other regulations also prohibit the receipt of valuable
consideration in exchange for fetal tissue. See 42 U.S.C. § 289g-2(a); Tex. Penal Code
§ 48.03(b). Farrell’s discussion of the financial arrangements that would need to be
made for PPGC to provide the fetal tissue to the procurement company and discussion
of what she has done in the past indicates that PPGC has and will accept
compensation above reimbursement for costs in providing fetal tissue, and that PPGC
transfers fetal tissue in exchange for valuable consideration as a quid pro quo
disconnected from any legally reimbursable costs. See {| 78; Exhibit C.

97. Other laws and regulations prohibit misrepresentations to law-
enforcement officials. See, eg., Tex. Penal Code § 37.08; 1 Tex. Admin. Code
§§ 371.1603(g)(5), 371.1661(8); 42 U.S.C. § 1320a-7(b)(16). The OIG received evidence
from the U.S. House of Representatives Select Investigative Panel which documented
a visit by the Texas Ranger Division of the Texas Department of Public Safety and

discussions relating to PPGC’s transactions with a researcher who was interested in

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obtaining fetal tissue. The U.S. House Panel’s evidence shows that PPGC, at that
time, had been informed that the BCM’s Independent Review Board had approved
the researcher’s fetal-tissue research proposal, but PPGC’s General Counsel told the
Texas Rangers that approval had not yet been obtained. See Exhibit C.

98. As a condition of participating as a Medicaid provider in the Texas
Medicaid program, Planned Parenthood agreed to comply with the requirements in
Title 1, Part 15, Chapter 371 of the Texas Administrative Code, the Texas Medicaid
Provider Procedures Manual, and all state and federal laws governing or regulating
Medicaid. As a condition of participation as a Texas Medicaid provider, Planned
Parenthood also agreed that failing to comply with any applicable law, rule, or policy
of the Medicaid program, or permitting circumstances that potentially threaten the
health or safety of patients would be grounds for disqualification.

99. The findings outlined in the Texas termination letter and reflected in
the undercover video obtained by Relator, and which were never contested by
Planned Parenthood in state administrative proceedings related to the termination,
are sufficient to implicate Planned Parenthood’s provision of Medicaid services in a
safe, competent, legal, and ethical manner. See Kauffman, 981 F.3d at 379-81 (Elrod,
J., joined by Jones, Smith, Willett, Ho, Duncan, and Engelhardt, JJ., concurring); see
also id.at 386 (agreeing as to PPGC) (Higginson, J., joined by Stewart and Costa, JJ.,
concurring in part). That is a condition of remaining eligible to participate in the

Medicaid program.

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100. Further information uncovered in, or as a result of, Relator’s
investigation shows that PPFA directed and participated in its affiliates’ wrongdoing.

101. As Farrell stated in the video, PPFA policies, including those on
research programs and fetal tissue donation, apply to all affiliates. PPFA approves
all affiliate research programs and research contracts. PPFA also sets the medical
standards and guidelines each affiliate is required to comply with. PPFA also requires
all affiliates to perform abortions.

102. PPFA has made false statements to government investigators regarding
Planned Parenthood’s participation in fetal tissue harvesting. During the Senate
Judiciary Committee’s investigation, PPFA stated that only four of its affiliates—all
in California—had engaged in fetal-tissue donation between 2010 and 2015 and
received funds in exchange. But PPGC participated in the UTMB study and received
approximately $21,000 in payments.

103. PPFA’s written policies and forms show that it violated the ethical
principle of informed consent in its affiliates’ fetal tissue procurement activities.
PPFA policies told doctors that they must attest that no “substantive” alterations to
abortion procedures may be made to obtain fetal-tissue samples. Cf. 42 U.S.C. § 289g-
1(b)(2)(A) Gi) “no alteration”). But the patient consent form states that “no changes
will be made to the abortion procedure.” In addition, PPFA’s mandated fetal tissue
donation consent form tells patients that fetal tissue has been used to cure illnesses
like AIDS, cancer, and Parkinson’s disease. But Planned Parenthood admitted under

oath that these claims are misleading.

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104. PPFA continues to falsely claim Relator’s undercover videos are
misleading, deceptive, and/or heavily edited, despite having never offered any
evidence showing that to be the case. Upon information and belief, PPFA has
instructed its affiliates to do so as well.

ii. Planned Parenthood failed to disclose noncompliance with
Medicaid Provider Qualification Requirements

105. As set forth above, PPGC began violating federal and state law in at
least 2010-2011, when PPGC began provided fetal tissue to UTMB. During that time,
PPGC permitted a researcher to perform abortions to harvest fetal tissue for her own
research, failed to disclose the abortion provider's interest in the tissue to patients,
used PPFA’s inadequate and misleading patient consent form to induce women to
donate fetal tissue, and transferred the fetal tissue to UTMB for valuable
consideration. PPGC never disclosed these violations of law to HHS, HHSC, nor LDH,
yet PPGC continued to certify it was in compliance with all state and federal laws
and regulations every time it submitted a Medicaid claim for reimbursement, and
each year it re-enrolled as a Medicaid provider.

106. As of September 2015, PPGC was aware that Louisiana had determined
that it was not qualified and would be terminated from the Louisiana Medicaid
program because of the evidence obtained by Relator. PPGC did not challenge that
termination in state administrative procedures, and it became final on October 15,
2015. Yet PPGC continued to submit Medicaid claims for reimbursement, and

continued to certify that it was in compliance with all state and federal laws and

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regulations every time they submitted Medicaid claims for reimbursement and each
time they re-enrolled as a Medicaid provider, despite their disqualification.

107. As of October 2015, PPGC, PPGT, and PPST were aware that Texas had
initially determined they were not qualified and would be terminated from the Texas
Medicaid program because of the evidence obtained by Relator. PPGC, PPGT, and
PPST did not challenge this initial decision, yet continued to certify that they were
in compliance with all state and federal laws and regulations every time they
submitted Medicaid claims for reimbursement, and each time they re-enrolled as a
Medicaid provider.

108. As of December 2016, PPGC, PPGT, and PPST were aware that they
had been terminated from the Texas Medicaid program. PPGC, PPGT, and PPST did
not challenge that termination in state administrative procedures, and it became
final on January 19, 2017. Yet PPGC, PPGT, and PPST continued to submit Medicaid
claims for reimbursement, and continued to certify that they were in compliance with
all state and federal laws and regulations every time they submitted Medicaid claims
for reimbursement and each time they re-enrolled as a Medicaid provider, despite
their disqualification.

iii. Planned Parenthood failed to report or repay overpayments

109. Federal courts in Texas and Louisiana entered temporary restraining
orders followed by preliminary injunctions which required Texas and Louisiana to
retain PPGC, PPGT, and PPST as Medicaid providers pending final resolution of

Planned Parenthood’s federal lawsuits against Texas and Louisiana, despite their

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final disqualification under state law. The Fifth Circuit vacated the preliminary
injunction in the Texas case on November 23, 2020.

110. All monies received by PPGC, PPGT, and PPST under the injunctions
are overpayments because PPGC, PPGT, and PPST were not qualified providers and
were thus not entitled to the money. The Medicaid statutes and regulations require
providers to report and pay to the government any overpayments.

111. Relator learned that Planned Parenthood did not report or return any
of these funds to the United States or the Plaintiff States after it became aware, or
should have become aware, it had an obligation to do so within the statutorily
required time period. Specifically, Planned Parenthood did not report or repay the
money it had received while it was disqualified within 60 days of November 23, 2020,
the date it became aware, or should have become aware, of the overpayments.

112. Upon information and belief, Planned Parenthood still has not reported
the overpayment, nor repaid any of these funds.

CAUSES OF ACTION

Count I: Federal False Claims Act
31 U.S.C. § 3729(a)(1)(A)

113. The preceding factual statements and allegations are incorporated
herein by reference as if fully set forth herein.

114. The False Claims Act imposes liability upon any person who knowingly
presents or causes to be presented false claims for payment or approval to the United
States government. 31 U.S.C. § 3729(a)(1)(A). When such false claims are discovered

by private citizens, the False Claims Act allows those citizens to bring an action on

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behalf of the United States against the perpetrators. 31 U.S.C. § 3730(b)(1). Relator
brings this action pursuant to 31 U.S.C. § 3730(b)(1) and has provided a Disclosure
Statement to the United States in compliance with § 3730(b)(2).

115. Through their conduct, the Planned Parenthood Defendants knowingly
submitted, or caused to be submitted, false claims for payment, as set forth above, in
violation of 31 U.S.C. § 3729(a)(1)(A). By submitting Medicaid claims for payment for
women’s health services, the Planned Parenthood Defendants represented that they
had complied with core state and federal Medicaid requirements, specifically (1) that
the Planned Parenthood Defendants were “qualified” under state and federal law to
provide medical services in a safe, legal, and ethical manner, and (2) that the Planned
Parenthood Defendants had not violated any medical or ethical standards or state or
federal laws in its provision of medical services. By submitting Medicaid claims that
conveyed this information without disclosing their violations of medical and ethical
standards and state and federal laws, the Planned Parenthood Defendants’ claims
constituted misrepresentations.

116. These undisclosed violations were material to the Plaintiff States’
decisions to pay the Planned Parenthood Defendants’ Medicaid claims. The Planned
Parenthood Defendants knew or reasonably should have known that the Plaintiff
States would deny their Medicaid claims and terminate their enrollment in the
Medicaid program if they disclosed the violations. When Relator provided information
to the United States and the Plaintiff States disclosing the Planned Parenthood

Defendants’ violations of medical and ethical standards and state and federal laws,

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the Plaintiff States determined that the Planned Parenthood Defendants were not
qualified to provide Medicaid services and terminated their enrollment in the
Medicaid program.

117. By reason of the Planned Parenthood Defendants’ actions, the United
States, the State of Texas, and the State of Louisiana have incurred and continue to
incur damages.

Count II: Federal False Claims Act
31 U.S.C. § 8729(a)(1)(G)

118. The preceding factual statements and allegations are incorporated
herein by reference as if fully set forth herein.

119. The False Claims Act imposes liability upon any person who knowingly
makes, uses, or causes to be made or used, a false record or statement material to an
obligation to pay or transmit money or property to the Government, or knowingly
conceals or knowingly and improperly avoids or decreases an obligation to pay or
transmit money or property to the Government. 31 U.S.C. § 3729(a)(1)(G). When such
false claims are discovered by private citizens, the False Claims Act allows those
citizens to bring an action on behalf of the United States against the perpetrators. 31
U.S.C. § 3730(b)(1). Relator brings this action pursuant to 31 U.S.C. § 3730(b)(1) and
has provided a Disclosure Statement to the United States in compliance with
§ 3730(b)(2).

120. Through their conduct, the Planned Parenthood Defendants have
received and retained millions of dollars of Medicaid overpayments to which Planned

Parenthood is not entitled because their terminations became final on October 15,

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2015 in Louisiana, and January 19, 2017 in Texas. Planned Parenthood waived
administrative review of the termination decisions and failed otherwise contest the
States’ decisions in administrative proceedings. Thus, once the Fifth Circuit issued
its November 23, 2020 opinion vacating the preliminary injunction requiring Texas
to keep Planned Parenthood in its Medicaid program and overruling the decision
upholding the preliminary injunction requiring Louisiana to keep Planned
Parenthood in its Medicaid program, Planned Parenthood determined or should have
determined that it improperly received Medicaid overpayments. Planned Parenthood
has knowingly and improperly avoided its obligation to return the overpayments to
the United States, the State of Texas, the State of Louisiana.

121. By reason of the Planned Parenthood Defendants’ actions, the United
States, the State of Texas, and the State of Louisiana have incurred and continue to
incur damages.

Count III: Texas Medicaid Fraud Prevention Act
Tex. Hum. Res. Code § 36.001 et. seq.

122. The preceding factual statements and allegations are incorporated
herein by reference as if fully set forth herein.

123. The Texas Medicaid Fraud Prevention Act imposes liability upon an
individual or entity who: (1) knowingly conceals or fails to disclose information that
permits a person to receive a benefit or payment under the Medicaid program that is
not authorized; (2) knowingly makes, causes to be made, induces, or seek to induce
the making of a false statement or misrepresentation of material fact concerning (a)

the conditions or operation of a facility in order that the facility may qualify for

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certification or recertification required by the Medicaid program, or (b) information
required to be provided by a federal or state law, rule, regulation, or provider
agreement pertaining to the Medicaid program; and/or (8) knowingly conceals or
knowingly and improperly avoids or decreases an obligation to pay or transmit money
or property to the state under the Medicaid program. Tex. Hum. Res. Code
§§ 36.002(2), (4), (12).

124, Relator brings this action in accordance with the civil action qui tam
provision in Tex. Hum. Res. Code §§ 36.101 and .102 and has complied with all
requirements therein.

125. Through their conduct, the Planned Parenthood Defendants have
knowingly concealed or failed to disclose information that permits a person to receive
a benefit or payment under the Medicaid program that is not authorized, as set forth
above, in violation of Tex. Hum. Res. Code § 36.002(2).

126. Through their conduct, the Planned Parenthood Defendants have
knowingly made, caused to be made, induced, or sought to induce the making of a
false statement or misrepresentation of material fact concerning (a) the conditions or
operation of a facility in order that the facility may qualify for certification or
recertification required by the Medicaid program, or (b) information required to be
provided by a federal or state law, rule, regulation, or provider agreement pertaining
to the Medicaid program, as set forth above, in violation of Tex. Hum. Res. Code

§ 36.002(4).

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127. Through their conduct, the Planned Parenthood Defendants have
knowingly concealed or knowingly and improperly avoided or decreased an obligation
to pay or transmit money or property to the state under the Medicaid program, as set
forth above, in violation of Texas Human Resources Code § 36.002(12).

128. By reason of the Planned Parenthood Defendants’ actions, the State of
Texas has incurred and continues to incur damages.

Count IV: Louisiana Medical Assistance Programs Integrity Law
La. Rev. Stat. § 46:437.1 et. seq.

129. The preceding factual statements and allegations are incorporated
herein by reference as if fully set forth herein.

130. The Louisiana Medical Assistance Programs Integrity Law imposes
liability for an individual or entity who: (1) knowingly presents or causes to be
presented a false or fraudulent claim; and/or (2) knowingly conceals, avoids, or
decreases an obligation to pay or transmit money or property to the medical
assistance programs. La. Rev. Stat. § 46:488.3(A), (C).

131. Relators bring this action in accordance with the civil action qui tam
provision in La. Rev. Stat. §§ 46:439.1-.2 and have complied with all requirements
therein.

132. Through their conduct, the Planned Parenthood Defendants have
knowingly presented, or caused to be presented, false or fraudulent claims to the
State of Louisiana, as set forth above, in violation of La. Rev. Stat. § 46:438.3(A).

1338. Through their conduct, the Planned Parenthood Defendants have

knowingly concealed, avoided, or decreased an obligation to pay or transmit money

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or property to the medical assistance programs, as set forth above, in violation of
Louisiana Revised Statute § 46:438.3(C).

134. By reason of the Planned Parenthood Defendants’ actions, the State of
Louisiana has incurred and continues to incur damages.

Count V: Conspiracy to Commit Health Care Fraud
18 U.S.C. § 1347, Tex. Hum. Res. Code § 36.002(9), La. Rev. Stat. § 46.438.3(D)

135. The preceding factual statements and allegations are incorporated
herein by reference as if fully set forth herein.

136. A person engages in conspiracy to commit health care fraud if (1) two or
more persons made an agreement to commit health care fraud; (2) the person knew
the unlawful purpose of the agreement; and (3) the person joined in the agreement
willingly, with the intent to further the unlawful purpose.

187. PPFA, PPGT, PPST, and PPGC, through its agents, employees, and
subsidiaries, knowingly and willingly agreed that PPGT, PPST, and PPGC would
engage in the fraudulent acts described above and continue submitting claims for
reimbursement by Texas Medicaid, and that PPGC would continue submitting claims
for reimbursement by Louisiana Medicaid, despite committing acts that materially
_ disqualified them from receiving Medicaid funds.

138. PPFA, PPGT, PPST, and PPGC, through its agents, employees, and
subsidiaries, knowingly and willingly agreed that PPGT, PPST, and PPGC would
retain overpayments received despite their termination from the Texas and
Louisiana Medicaid programs, and despite their statutory obligation to return

overpayments.

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PRAYER FOR RELIEF
WHEREFORE, Relator prays that this Court enter judgment against the
Defendants as follows:

(a) That the United States be awarded damages in the amount of three times
the damages sustained by the United States as a result of the unlawful acts
of Defendants complained of herein, as provided by the False Claims Act,
31 U.S.C. §§ 3729, et seq.;

(b) That civil penalties of $11,000 be imposed for each and every false claim
that Defendants presented or caused to be presented to the United States;

(c) That the State of Texas be awarded damages in the amount of each
payment provided to Defendants under the Medicaid program as a result of
the unlawful acts complained of herein, plus two times the damages
sustained by the State of Texas as a result of such unlawful acts, as
provided by the TMFPA, Tex. Hum. Res. Code §§ 32.001 et seq., and
36.052(a) and (b);

(d) That civil penalties of $11,000 be imposed for each and every false claim
that Defendants presented or caused to be presented to the State of Texas;

(e) That the State of Louisiana be awarded damages in the amount of each
payment provided to Defendants under the Medicaid program as a result of
the unlawful acts complained of herein, plus two times the damages
sustained by the State of Louisiana as a result of such unlawful acts, as

provided by the LMAPIL, La. Rev. Stat. §§ 46:438.3, et seq.;

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(f) That civil penalties of $11,000 be imposed for each and every false claim
that Defendants presented or caused to be presented to the State of
Louisiana;

(g) That pre- and post-judgment interest be awarded along with reasonable
attorney fees, costs, and expenses incurred by Relator in bringing and
prosecuting this case;

(h) That the Court grant permanent injunctive relief to prevent any recurrence
of the federal and state false claims and Medicaid fraud violations for which
redress is sought in this Complaint;

(i) That Relator Alex Doe be awarded the maximum amount allowed pursuant
to the federal False Claims Act, the Texas Medicaid Fraud Prevention Act,
and the Louisiana Medical Assistance Programs Integrity Law; and

Gj) That this Court award such other and further relief as it deems equitable,

just, and proper.

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Respectfully submitted this 5th day of February, 2021.

/s/ Andrew B. Stephens
ANDREW B. STEPHENS*

Texas Bar No. 24079396
andrew@hackerstephens.com

HEATHER GEBELIN HACKER**
Texas Bar No. 24103325
heather@hackerstephens.com

HACKER STEPHENS LLP

108 Wild Basin Rd. South, Suite 250
Austin, Texas 78746

(512) 399-3022 (phone)

Attorneys for Relator Alex Doe

*Leave requested to proceed without local
counsel

** Application for admission to the Northern
District of Texas pending

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EXHIBIT
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Bobby Jindal .. ‘ Kathy H. Kliebert
GOVERNOR eer SECRETARY
State of Louisiana
Department of Health and Hospitals
Office of the Secretary

September 15, 2015

Planned Parenthood
ATTN: Melaney Linton
4018 Magazine Street
New Orleans, LA 70115

Certified Mail, Return Receipt Requested (7012 2210 0001 6260 0080)

Re: Termination / Revocation of Louisiana Medicaid Provider Agreement
Provider Number 91338

Dear Mrs. Linton:

Based on the initial findings of Louisiana’s investigation into Planned Parenthood Gulf Coast
(PPGC), you are hereby notified that the Department of Health and Hospitals (DHH) is hereby
terminating / revoking the PPGC provider agreement referenced above. This action is being
taken pursuant to La. R.S. 46:437.11 and 46:437.14. This action will take effect following final
determination, judgment, completion, withdrawal from, or termination of all administrative
and/or legal proceedings in this matter. Such proceedings include, but are not limited to,
informal hearings, administrative appeals, appeals for judicial review, appellate judgments,
and/or denials of writ applications.

Specifically, it is clear that PPGC entered into a Federal False Claims Act settlement signed on
July 25, 2013, by Melaney A. Linton, President and CEO of PPGC agreeing to pay $4,300,000 to
the United States who “contend[ed] that PPGC submitted false claims.” Settlement Agreement,
Reynolds v. Planned Parenthood Gulf Coast, No. 9:09-cv-124 (E.D. TX, Lufkin Div.)(July 25,
2013). In accordance with the Louisiana Administrative Code, Title 50, this is a violation.
Further, under that same administrative code, PPGC had an affirmative duty to inform BHSF in
writing of this violation. Since DHH, through BHSF, was not informed within ten (10) working
days of when the provider knew or should have known of the violation, this constitutes a
separate violation. Also under consideration in our departmental proceedings are provider audits
and federal false claims cases against Planned Parenthood of America (PPFA) affiliates.
Included among these are pending federal false claims cases against PPGC, one in which the
presiding judge found that the information already provided “allows the court to draw the
reasonable inference that Planned Parenthood knowingly filed false claims.” Memorandum
Opinion and Order at 17, Carroll v. Planned Parenthood Gulf Coast, 4:12-cv-03505 (S.D. TX,
Houston Div.) (May 14, 2014). Providers and providers-in-fact are required to ensure that all
their agents and affiliates are in compliance with all federal and state laws as well as rules,
policies and procedures of the Medicaid program. PPGC and its parent organization PPFA has
failed to do so and has failed to notify DHH of violations and misconduct by affiliates and
providers-in-fact. These are also violations of La. Admin. Code, Title 50.

Bicnville Building * 628 N. 4" Steect * P.O. Box 629 * Baton Rouge, Louisiana 70821-0629
Phone #: 225/342-9509 = Fax #: 225/342-5568 * IMI, DHT LLA.GOM
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Further, in regard to the Center for Medical Progress (CMP) videos, DHH reviewed responses
received from PPGC via letters dated July 24, 2015, and August 14, 2015, from Melaney Linton
in response to DHH letters dated July 15, 2015, and August 4, 2015. After said review, DHH
believes that PPGC misrepresented its actions therein and had contradictions within the body of
the letter and with the statements and admissions made in the CMP videos, including but not
limited to the video released on August 4, 2015 and taped in April of this year, containing
conversations with PPGC senior management, including the PPGC director of research and
PPCFC facility director.

According to La. R.S. 46:437.11(D)(2), the Secretary may terminate a provider agreement
immediately and without written notice if a health care provider is the subject of a sanction or of
a criminal, civil, or departmental proceeding. The Department determines that PPGC currently
fits within this statute due to the investigations of PPGC by both DHH and the Louisiana Office
of Inspector General. DHH expressly reserves the right to amend this notice and to terminate
your provider agreement immediately and without written notice based on the further findings of
the pending investigations by any department of Louisiana, any other State or state agency, or
the pending investigations in the congressional committees. DHH has elected to provide PPGC
with full due process rights as mentioned above and will not pursue immediate termination
pursuant to this notice.

According to 46:437.14(A)(1), DHH may deny or revoke enrollment in the Medicaid program in
cases of misrepresentation. As alleged above, DHH believes PPGC’s responses to inquiries,
when compared to clear representations in various videos, rises to the level of misrepresentation.
Further, according to La. R.S. 46:437.14(A)(10) and (12), DHH may move to revoke enrollment
ifa provider is found in violation of licensing or certification conditions or professional
standards relating to the licensure or certification of health care providers or the required quality
of goods, services, or supplies provided. Also, a provider agreement can be revoked for failure
to meet any condition of enrollment. As a Medicaid provider, PPGC is charged with maintaining
compliance with all state statutes, rules and regulations, including the Louisiana Administrative
Code mentioned above. PPGC’s actions mentioned above are clear violations of applicable
administrative code provisions and are clear violations of the statutes mentioned. Based on the
conduct described, the above provider number is hereby being terminated / revoked.

You are entitled to an administrative review of this action and it is suspensive if you avail
yourself of same. Initially, you should request an Informal Hearing at which you are entitled to
both present information in writing or orally, present documents, and to further inquire as to the
reasons for our determination. You must make your request for an Informal Hearing in writing
and within fifteen (15) calendar days (including Saturdays and Sundays) of receipt of this notice.
Your written request should be sent to:

Louisiana DHH, Office of Secretary
P.O. Box 3836
Baton Rouge, Louisiana 70821

 
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You may be represented by an attorney or authorized representative at the Informal Hearing.
Your attorney or authorized representative must file a written notice of representation identifying
himself by name, address, and telephone number at the address given above.

Following the Informal Hearing you will receive a written Notice of the Results of the Informal
Hearing from which you are entitled to seek an appeal before the Division of Administrative
Law. This hearing will also be suspensive in nature. Your request for Administrative Appeal
must be in writing and set out the reasons for which you are seeking an appeal and the basis upon
which you disagree with the results of the Informal Hearing. All requests for an Administrative
Appeal must be received within thirty (30) calendar days (including Saturdays and Sundays) of
the receipt of this notice. Request for Administrative Appeal must be sent to the address given
below.

Division of Administrative Law — HH Section
P.O. Box 4189
Baton Rouge, Louisiana 70821-4189
Phone (225) 342-0443
Fax (225) 219-9823

You may be represented by an attorney or authorized representative at the Administrative
Appeal. Your attorney or authorized representative must file a written notice of representation
identifying himself by name, address, and telephone number at the address above.

You may choose to forego the Informal Hearing and instead request an Administrative Appeal of
this action. If you choose this alternative, please follow the procedure described above for
scheduling an Administrative Appeal.

If you do not request an Informal Hearing or an Administrative Appeal, your termination will
become effective thirty (30) days (including Saturdays and Sundays) from the date of your
receipt of this letter.

If you have any questions regarding this correspondence, you may contact Stephen R. Russo,
Executive Counsel, at (225) 342-1115.

Sincerely,

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Kathy Kliebert, Secretary
Louisiana Department of Health and Hospitals

Ce: Planned Parenthood Gulf Coast

Bienville Building * 628 N. 4 Street * P.O. Box 629 « Baton Rouge, Louisiana 70821-0629
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Bobby Jindal
GOVERNOR

 

& eae” Kathy H. Kliebert
Cer SECRETARY
State of Louisiana
Department of Health and Hospitals
Office of the Secretary

September 15, 2015

Planned Parenthood

ATTN: Melaney Linton

3955 Government Street, Suite 2
Baton Rouge, Louisiana 70806

Certified Mail, Return Receipt Requested (7012 2210 0001 6260 0097)

Re: Termination / Revocation of Louisiana Medicaid Provider Agreement
Provider Number 133689

Dear Mrs. Linton:

Based on the initial findings of Louisiana’s investigation into Planned Parenthood Gulf Coast
(PPGC), you are hereby notified that the Department of Health and Hospitals (DHH) is hereby
terminating / revoking the PPGC provider agreement referenced above. This action is being
taken pursuant to La. R.S. 46:437.11 and 46:437.14. This action will take effect following final
determination, judgment, completion, withdrawal from, or termination of all administrative
and/or legal proceedings in this matter. Such proceedings include, but are not limited to,
informal hearings, administrative appeals, appeals for judicial review, appellate judgments,
and/or denials of writ applications.

Specifically, it is clear that PPGC entered into a Federal False Claims Act settlement signed on
July 25, 2013, by Melaney A. Linton, President and CEO of PPGC agreeing to pay $4,300,000 to
the United States who “contend[ed] that PPGC submitted false claims.” Settlement Agreement,
Reynolds v. Planned Parenthood Gulf Coast, No. 9:09-cv-124 (E.D. TX, Lufkin Div.)(July 25,
2013). In accordance with the Louisiana Administrative Code, Title 50, this is a violation.
Further, under that same administrative code, PPGC had an affirmative duty to inform BHSF in
writing of this violation. Since DHH, through BHSF, was not informed within ten (10) working
days of when the provider knew or should have known of the violation, this constitutes a
separate violation. Also under consideration in our departmental proceedings are provider audits
and federal false claims cases against Planned Parenthood of America (PPFA) affiliates.
Included among these are pending federal false claims cases against PPGC, one in which the
presiding judge found that the information already provided “allows the court to draw the
reasonable inference that Planned Parenthood knowingly filed false claims.” Memorandum
Opinion and Order at 17, Carroll v. Planned Parenthood Gulf Coast, 4:12-cv-03505 (S.D. TX,
Houston Div.) (May 14, 2014). Providers and providers-in-fact are required to ensure that all
their agents and affiliates are in compliance with all federal and state laws as well as rules,
policies and procedures of the Medicaid program. PPGC and its parent organization PPFA has
failed to do so and has failed to notify DHH of violations and misconduct by affiliates and
providers-in-fact. These are also violations of La. Admin. Code, Title 50.

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Further, in regard to the Center for Medical Progress (CMP) videos, DHH reviewed responses
received from PPGC via letters dated July 24, 2015, and August 14, 2015, from Melaney Linton
in response to DHH letters dated July 15, 2015, and August 4, 2015. After said review, DHH
believes that PPGC misrepresented its actions therein and had contradictions within the body of
the letter and with the statements and admissions made in the CMP videos, including but not
limited to the video released on August 4, 2015 and taped in April of this year, containing
conversations with PPGC senior management, including the PPGC director of research and
PPCEC facility director.

According to La. R.S. 46:437.11(D)(2), the Secretary may terminate a provider agreement
immediately and without written notice if a health care provider is the subject of a sanction or of
a criminal, civil, or departmental proceeding. The Department determines that PPGC currently
fits within this statute due to the investigations of PPGC by both DHH and the Louisiana Office
of Inspector General. DHH expressly reserves the right to amend this notice and to terminate
your provider agreement immediately and without written notice based on the further findings of
the pending investigations by any department of Louisiana, any other State or state agency, or
the pending investigations in the congressional committees. DHH has elected to provide PPGC
with full due process rights as mentioned above and will not pursue immediate termination
pursuant to this notice.

According to 46:437.14(A)(1), DHH may deny or revoke enrollment in the Medicaid program in
cases of misrepresentation. As alleged above, DHH believes PPGC’s responses to inquiries,
when compared to clear representations in various videos, rises to the level of misrepresentation.
Further, according to La. R.S. 46:437.14(A)(10) and (12), DHH may move to revoke enrollment
if a provider is found in violation of licensing or certification conditions or professional
standards relating to the licensure or certification of health care providers or the required quality
of goods, services, or supplies provided. Also, a provider agreement can be revoked for failure
to meet any condition of enrollment. As a Medicaid provider, PPGC is charged with maintaining
compliance with all state statutes, rules and regulations, including the Louisiana Administrative
Code mentioned above. PPGC’s actions mentioned above are clear violations of applicable
administrative code provisions and are clear violations of the statutes mentioned. Based on the
conduct described, the above provider number is hereby being terminated / revoked.

You are entitled to an administrative review of this action and it is suspensive if you avail
yourself of same. Initially, you should request an Informal Hearing at which you are entitled to
both present information in writing or orally, present documents, and to further inquire as to the
reasons for our determination. You must make your request for an Informal Hearing in writing
and within fifteen (15) calendar days (including Saturdays and Sundays) of receipt of this notice.
Your written request should be sent to:

Louisiana DHH, Office of Secretary
P.O. Box 3836
Baton Rouge, Louisiana 70821

 
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You may be represented by an attorney or authorized representative at the Informal Hearing.
Your attorney or authorized representative must file a written notice of representation identifying
himself by name, address, and telephone number at the address given above.

Following the Informal Hearing you will receive a written Notice of the Results of the Informal
Hearing from which you are entitled to seek an appeal before the Division of Administrative
Law. This hearing will also be suspensive in nature. Your request for Administrative Appeal
must be in writing and set out the reasons for which you are seeking an appeal and the basis upon
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Division of Administrative Law — HH Section
P.O, Box 4189
Baton Rouge, Louisiana 70821-4189
Phone (225) 342-0443
Fax (225) 219-9823

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You may choose to forego the Informal Hearing and instead request an Administrative Appeal of
this action. If you choose this alternative, please follow the procedure described above for
scheduling an Administrative Appeal.

If you do not request an Informal Hearing or an Administrative Appeal, your termination will
become effective thirty (30) days (including Saturdays and Sundays) from the date of your
receipt of this letter.

If you have any questions regarding this correspondence, you may contact Stephen R. Russo,
Executive Counsel, at (225) 342-1115.

Sincerely,

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ra
Kathy Kliebert, Secretary
Louisiana Department of Health and Hospitals

Cc: Planned Parenthood Gulf Coast

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Kathy H. Kliebert

Bobby Jindal
SECRETARY

GOVERNOR i ae s
State of Soutstarta
Department of Health and Hospitals
Office of the Secretary

September 15, 2015

Planned Parenthood
ATTN:Melaney Linton
4600 Gulf Hwy.
Houston, TX 77023

Certified Mail, Return Receipt Requested (7012 2210 0001 6260 0073)

Re: Termination / Revocation of Louisiana Medicaid Provider Agreement
Provider Number 45802

Dear Mrs. Linton:

Based on the initial findings of Louisiana’s investigation into Planned Parenthood Gulf Coast
(PPGC), you are hereby notified that the Department of Health and Hospitals (DHH) is hereby
terminating / revoking the PPGC provider agreement referenced above. This action is being
taken pursuant to La. R.S. 46:437.11 and 46:437.14. This action will take effect following final
determination, judgment, completion, withdrawal from, or termination of all administrative
and/or legal proceedings in this matter, Such proceedings include, but are not limited to,
informal hearings, administrative appeals, appeals for judicial review, appellate judgments,
and/or denials of writ applications.

Specifically, it is clear that PPGC entered into a Federal False Claims Act settlement signed on
July 25, 2013, by Melaney A. Linton, President and CEO of PPGC agreeing to pay $4,300,000 to
the United States who “contend[ed] that PPGC submitted false claims.” Settlement Agreement,
Reynolds v. Planned Parenthood Gulf Coast, No. 9:09-cv-124 (E.D. TX, Lufkin Div.)(July 25,
2013). In accordance with the Louisiana Administrative Code, Title 50, this is a violation.
Further, under that same administrative code, PPGC had an affirmative duty to inform BHSF in
writing of this violation. Since DHH, through BHSF, was not informed within ten (10) working
days of when the provider knew or should have known of the violation, this constitutes a
separate violation. Also under consideration in our departmental proceedings are provider audits
and federal false claims cases against Planned Parenthood of America (PPFA) affiliates.
Included among these are pending federal false claims cases against PPGC, one in which the
presiding judge found that the information already provided “allows the court to draw the
reasonable inference that Planned Parenthood knowingly filed false claims.” Memorandum
Opinion and Order at 17, Carroll v. Planned Parenthood Gulf Coast, 4:1 2-ev-03505 (S.D. TX,
Houston Div.) (May 14, 2014). Providers and providers-in-fact are required to ensure that all
their agents and affiliates are in compliance with all federal and state laws as well as rules,
policies and procedures of the Medicaid program. PPGC and its parent organization PPFA has
failed to do so and has failed to notify DHH of violations and misconduct by affiliates and
providers-in-fact. These are also violations of La. Admin. Code, Title 50.

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Further, in regard to the Center for Medical Progress (CMP) videos, DHH reviewed responses
received from PPGC via letters dated July 24, 2015, and August 14, 2015, from Melaney Linton
in response to DHH letters dated July 15, 2015, and August 4, 2015. After said review, DHH
believes that PPGC misrepresented its actions therein and had contradictions within the body of
the letter and with the statements and admissions made in the CMP videos, including but not
limited to the video released on August 4, 2015 and taped in April of this year, containing
conversations with PPGC senior management, including the PPGC director of research and
PPCFC facility director.

According to La. R.S. 46:437.11(D)(2), the Secretary may terminate a provider agreement
immediately and without written notice if a health care provider is the subject of a sanction or of
a criminal, civil, or departmental proceeding. The Department determines that PPGC currently
fits within this statute due to the investigations of PPGC by both DHH and the Louisiana Office
of Inspector General. DHH expressly reserves the right to amend this notice and to terminate
your provider agreement immediately and without written notice based on the further findings of
the pending investigations by any department of Louisiana, any other State or state agency, or
the pending investigations in the congressional committees. DHH has elected to provide PPGC
with full due process rights as mentioned above and will not pursue immediate termination
pursuant to this notice.

According to 46:437.14(A)(1), DHH may deny or revoke enrollment in the Medicaid program in
cases of misrepresentation. As alleged above, DHH believes PPGC’s responses to inquiries,
when compared to clear representations in various videos, rises to the level of misrepresentation.
Further, according to La. R.S. 46:437.14(A)(10) and (12), DHH may move to revoke enrollment
if a provider is found in violation of licensing or certification conditions or professional
standards relating to the licensure or certification of health care providers or the required quality
of goods, services, or supplies provided. Also, a provider agreement can be revoked for failure
to meet any condition of enrollment. As a Medicaid provider, PPGC is charged with maintaining
compliance with all state statutes, rules and regulations, including the Louisiana Administrative
Code mentioned above. PPGC’s actions mentioned above are clear violations of applicable
administrative code provisions and are clear violations of the statutes mentioned. Based on the
conduct described, the above provider number is hereby being terminated / revoked.

You ate entitled to an administrative review of this action and it is suspensive if you avail
yourself of same. Initially, you should request an Informal Hearing at which you are entitled to
both present information in writing or orally, present documents, and to further inquire as to the
reasons for our determination. You must make your request for an Informal Hearing in writing
and within fifteen (15) calendar days (including Saturdays and Sundays) of receipt of this notice.
Your written request should be sent to:

Louisiana DHH, Office of Secretary
P.O. Box 3836
Baton Rouge, Louisiana 70821

 
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You may be represented by an attorney or authorized representative at the Informal Hearing.
Your attorney or authorized representative must file a written notice of representation identifying
himself by name, address, and telephone number at the address given above.

Following the Informal Hearing you will receive a written Notice of the Results of the Informal
Hearing from which you are entitled to seek an appeal before the Division of Administrative
Law. This hearing will also be suspensive in nature. Your request for Administrative Appeal
must be in writing and set out the reasons for which you are seeking an appeal and the basis upon
which you disagree with the results of the Informal Hearing. All requests for an Administrative
Appeal must be received within thirty (30) calendar days (including Saturdays and Sundays) of
the receipt of this notice. Request for Administrative Appeal must be sent to the address given
below.

Division of Administrative Law — HH Section
P.O. Box 4189
Baton Rouge, Louisiana 70821-4189
Phone (225) 342-0443
Fax (225) 219-9823

You may be represented by an attorney or authorized representative at the Administrative
Appeal. Your attorney or authorized representative must file a written notice of representation
identifying himself by name, address, and telephone number at the address above.

You may choose to forego the Informal Hearing and instead request an Administrative Appeal of
this action. If you choose this alternative, please follow the procedure described above for
scheduling an Administrative Appeal.

If you do not request an Informal Hearing or an Administrative Appeal, your termination will
become effective thirty (30) days (including Saturdays and Sundays) from the date of your
receipt of this letter.

If you have any questions regarding this correspondence, you may contact Stephen R. Russo,
Executive Counsel, at (225) 342-1115.

Sincerely,

 
 

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Kathy Kliebert, Secretary
Louisiana Department of Health and Hospitals

Cc: Planned Parenthood Gulf Coast

Bicnville Building « 628 N. 4% Street * P.O. Box 629 * Baton Rouge, Louisiana 70821-0629
Phone ##: 225/342-9509 © Fax #: 225/342-5568 = IVI DHE.LAL.GOW
“An Equal Opportunity Employer”

 
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Kathy H. Kliebert

Bobby Jindal
SECRETARY

GOVERNOR Reap era
State of Louisiana
Department of Health and Hospitals

Office of the Secretary

September 15, 2015

Planned Parenthood
ATTN: Melaney Linton
4018 Magazine Street
New Orleans, LA 70115

Certified Mail, Return Receipt Requested (7012 2210 0001 6260 0066)

Re: Termination / Revocation of Louisiana Medicaid Provider Agreement
Provider Number 133673

Dear Mrs. Linton:

Based on the initial findings of Louisiana’s investigation into Planned Parenthood Gulf Coast
(PPGC), you are hereby notified that the Department of Health and Hospitals (DHH) is hereby
terminating / revoking the PPGC provider agreement referenced above. This action is being
taken pursuant to La. R.S. 46:437.11 and 46:437.14. This action will take effect following final
determination, judgment, completion, withdrawal from, or termination of all administrative
and/or legal proceedings in this matter. Such proceedings include, but are not limited to,
informal hearings, administrative appeals, appeals for judicial review, appellate judgments,
and/or denials of writ applications.

Specifically, it is clear that PPGC entered into a Federal False Claims Act settlement signed on
July 25, 2013, by Melaney A. Linton, President and CEO of PPGC agreeing to pay $4,300,000 to
the United States who “contend[ed] that PPGC submitted false claims.” Settlement Agreement,
Reynolds v. Planned Parenthood Gulf Coast, No. 9:09-cv-124 (E.D. TX, Lufkin Div.)(July 25,
2013). In accordance with the Louisiana Administrative Code, Title 50, this is a violation.
Further, under that same administrative code, PPGC had an affirmative duty to inform BHSF in
writing of this violation. Since DHH, through BHSF, was not informed within ten (10) working
days of when the provider knew or should have known of the violation, this constitutes a
separate violation. Also under consideration in our departmental proceedings are provider audits
and federal false claims cases against Planned Parenthood of America (PPFA) affiliates.
Included among these are pending federal false claims cases against PPGC, one in which the
presiding judge found that the information already provided “allows the court to draw the
reasonable inference that Planned Parenthood knowingly filed false claims.” Memorandum
Opinion and Order at 17, Carroll v. Planned Parenthood Gulf Coast, 4:12-cv-03505 (S.D. TX,
Houston Div.) (May 14, 2014). Providers and providers-in-fact are required to ensure that all
their agents and affiliates are in compliance with all federal and state laws as well as rules,
policies and procedures of the Medicaid program. PPGC and its parent organization PPFA has
failed to do so and has failed to notify DHH of violations and misconduct by affiliates and
providers-in-fact. These are also violations of La, Admin. Code, Title 50.

Bienville Building * 628 N. 4% Street * P.O, Box 629 * Baton Rouge, Louisiana 70821-0629
Phone #: 225/342-9509 « Fax #: 225/342-5568 = PW DHILL-LGOI”
““\n Equal Opportunity Employer”

 
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Further, in regard to the Center for Medical Progress (CMP) videos, DHH reviewed responses
received from PPGC via letters dated July 24, 2015, and August 14, 2015, from Melaney Linton
in response to DHH letters dated July 15, 2015, and August 4, 2015. After said review, DHH
believes that PPGC misrepresented its actions therein and had contradictions within the body of
the letter and with the statements and admissions made in the CMP videos, including but not
limited to the video released on August 4, 2015 and taped in April of this year, containing
conversations with PPGC senior management, including the PPGC director of research and
PPCFC facility director.

According to La. R.S. 46:437.11(D)(2), the Secretary may terminate a provider agreement
immediately and without written notice if a health care provider is the subject of a sanction or of
a criminal, civil, or departmental proceeding. The Department determines that PPGC currently
fits within this statute due to the investigations of PPGC by both DHH and the Louisiana Office
of Inspector General. DHH expressly reserves the right to amend this notice and to terminate
your provider agreement immediately and without written notice based on the further findings of
the pending investigations by any department of Louisiana, any other State or state agency, or
the pending investigations in the congressional committees. DHH has elected to provide PPGC
with full due process rights as mentioned above and will not pursue immediate termination
pursuant to this notice.

According to 46:437.14(A)(1), DHH may deny or revoke enrollment in the Medicaid program in
cases of misrepresentation. As alleged above, DHH believes PPGC’s responses to inquiries,
when compared to clear representations in various videos, rises to the level of misrepresentation.
Further, according to La. R.S. 46:437.14(A)(10) and (12), DHH may move to revoke enrollment
if a provider is found in violation of licensing or certification conditions or professional
standards relating to the licensure or certification of health care providers or the required quality
of goods, services, or supplies provided. Also, a provider agreement can be revoked for failure
to meet any condition of enrollment. As a Medicaid provider, PPGC is charged with maintaining
compliance with all state statutes, rules and regulations, including the Louisiana Administrative
Code mentioned above. PPGC’s actions mentioned above are clear violations of applicable
administrative code provisions and are clear violations of the statutes mentioned. Based on the
conduct described, the above provider number is hereby being terminated / revoked.

You are entitled to an administrative review of this action and it is suspensive if you avail
yourself of same. Initially, you should request an Informal Hearing at which you are entitled to
both present information in writing or orally, present documents, and to further inquire as to the
reasons for our determination. You must make your request for an Informal Hearing in writing
and within fifteen (15) calendar days (including Saturdays and Sundays) of receipt of this notice.
Your written request should be sent to:

Louisiana DHH, Office of Secretary
P.O. Box 3836
Baton Rouge, Louisiana 70821

 
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You may be represented by an attorney or authorized representative at the Informal Hearing.
Your attorney or authorized representative must file a written notice of representation identifying
himself by name, address, and telephone number at the address given above.

Following the Informal Hearing you will receive a written Notice of the Results of the Informal
Hearing from which you are entitled to seek an appeal before the Division of Administrative
Law. This hearing will also be suspensive in nature. Your request for Administrative Appeal
must be in writing and set out the reasons for which you are seeking an appeal and the basis upon
which you disagree with the results of the Informal Hearing. All requests for an Administrative
Appeal must be received within thirty (30) calendar days (including Saturdays and Sundays) of
the receipt of this notice. Request for Administrative Appeal must be sent to the address given
below.

Division of Administrative Law — HH Section
P.O. Box 4189
Baton Rouge, Louisiana 70821-4189
Phone (225) 342-0443
Fax (225) 219-9823

You may be represented by an attorney or authorized representative at the Administrative
Appeal. Your attorney or authorized representative must file a written notice of representation
identifying himself by name, address, and telephone number at the address above.

You may choose to forego the Informal Hearing and instead request an Administrative Appeal of
this action. If you choose this alternative, please follow the procedure described above for
scheduling an Administrative Appeal.

If you do not request an Informal Hearing or an Administrative Appeal, your termination will
become effective thirty (30) days (including Saturdays and Sundays) from the date of your
receipt of this letter.

If you have any questions regarding this correspondence, you may contact Stephen R. Russo,
Executive Counsel, at (225) 342-1115.

Sincerely,

 

Louisiana Department of Health and Hospitals

Cec: Planned Parenthood Gulf Coast

Bienville Building * 628 N. 4 Strect © P.O. Box 629 * Baton Rouge, Louisiana 70821-0629
Phone #: 225/342-9509 * Fax #: 225/342-5568 © IPIFIF. DHELLA.GOIM
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CH. OFFICE OF INSPECTOR GENERAL

TEXAS HEALTH & HUMAN SERVICES COMMISSION

STUART W. BOWEN JR.
INSPECTOR GENERAL

October 19, 2015
«88% NOTICE OF TERMINATION ****
Via Regular Mail and CMRRR No. 7015 1730 0000 9397 2194

Planned Parenthood of Greater Texas / Planned Parenthood of North Texas / Planned Parenthood
of Texas

Registered Agent: Kenneth Lambrecht

7424 Greenville Ave.

Suite 206

Dallas, Texas 75231-4534

Re: Planned Parenthood of Greater Texas / Planned Parenthood of North Texas / Planned
Parenthood of Texas
TPL Numbers; = 1272197-03, 1272197-07, 1272197-10, 29991 12-01, 2999] [2-02,
29991 12-03, 29991 12-05, 29991 12-08, 29991 12-09, 3147803-01, 3150484-01, 3150385-
01, 3159402-01, 1272197-05, 1272197-02, 13648 12-13, 1364812-06, 1122699-01,
1122699-06, 1131914-07, 1131914-05, 1131914-08, 1131914-06

Dear Provider:

Your receipt of this Notice of ‘Termination effects a process to end your enrollment in the Texas
Medicaid program. See 1 TEX. ADMIN. CODE § 371.1703(e) (2014). We have begun terminating
your enrollment because, based on the evidence outlined below, you are liable, directly or by
affiliation, for a series of serious Medicaid program violations. The State has determined that
you and your Planned Parenthood affiliates are no longer capable of performing medical services
in a professionally competent, safe, legal, and ethical manner.

Your termination and that of all your affiliates will not affect access to care in this State because
there are thousands of alternate providers in Texas, including federally qualified health centers,
Medicaid-certified rural health clinics, and other health care providers across the State that
participate in the Texas Women’s Health Program and Medicaid. Quer women's health programs,
mostly State-funded since 2013, have increased overall funding for women’s health services and
access to these services for women across the State.

Theretore, in connection with this Notice of Termination and out of respect for the patients who
otherwise would receive Medicaid services from you and your affiliates, the State of Texas

 

P. O. Box 85200, Austin, Texas 78708 + (512) 491-2000

 

 

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Notice of Termination
October 19, 2015
Page 2

requests your cooperation in informing all clients and potential clients about alternatives where
they can obtain Medicaid services from providers in good standing with the State. HHSC staff
will provide you with information you can share regarding those Medicaid providers.

I, FINDINGS SUPPORTING TERMINATION
We have determined the bases for your termination are as follows:

A. Earlier this year, Planned Parenthood Gulf Coast (PPGC) committed and
condoned numerous acts of misconduct captured on video that reveal repeated
program violations and breach the minimum standards of care required of it as a
Medicaid enrollee. PPGC is being terminated from the program because of
these program violations, which include, but are not limited to, the following:

1. The videos indicate that PPGC follows a policy of agreeing to procure fetal
lissue even if it means altering the timing or method of an abortion. These
practices violate accepted medical standards, as reflected in federal law, and
are Medicaid program violations that justify termination. See 42 U.S.C. §
2899-1; | TEX. ADMIN. CODE § 371.1659(2) and (6).

2. PPGC failed to prevent conditions that would allow the spread of infectious
diseases among employees, as well as patients and the general public.
Specifically, it allowed individuals posing as commercial buyers of fetal
body parts to handle bloody fetal tissue while wearing only gloves. PPGC
did not comply with mandatory “universal precautions,” including the use of
“protective barriers,” required whenever anyone handles “blood,” “non-
intact skin,” and “body fluids,” See 25 ‘TEX. ADMIN. CODE § 139.49; see also
29 CFR § 1910.1030. These program violations justify termination, See |
TEX, ADMIN. CODE § 371.1659(2) and (6).

3. PPGC staff were not trained in infection control and barrier precautions with
regard to the handling of fetal blood and tissue or they failed to comply with
the minimum standards that mandatory training requires with regard to these
critical public health and safety issucs, See 25 TEX. ADMIN. CODE §
139.49(b)(3). These program violations justify termination. See | TEX.
ADMIN. CODE § 37L.1659(2) and (6).

As a Planned Parenthood affiliate, you have agreed to abide by mandatory medical
and operational standards established by the Planned Parenthood Federation of
America (PPFA) located in Washington, D.C, You are a legal affiliate of the PPFA
and of all similarly situated Planned Parenthood providers in Texas.

Our rules provide that if you are affiliated with a provider that commits program
violations subjecting it to enrollment termination, then you, as an affiliate, are

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Notice of Termination
October 19, 2015
Page 3

subject to the same enrollment termination, See | TEX, ADMIN, CODE §
371.1703(c)(7).

The definitions section of our rule substantiates the conclusion that you are an
affiliate of PPGC. It provides that an enrolled provider is an affiliate of another
enrolled provider if it “shares any identifying information, including ... corporate
or franchise name.” You share such identifying information with PPGC and are
thus subject to termination, See 1 TEX. ADMIN. Cop § 371.1607(3)(D,

Our decision to terminate all affiliates in Texas finds support in the extensive video
evidence filmed at PPGC and other Parenthood affiliates across the country,
including video footage of the Medical Director of PPFA who appears to not only
condone such program violations but also endorse them. This suggests that the
program violations recorded at PPGC reflect PPFA national policy or accepted
practice, which explains in part their widespread occurrence across the country
among Planned Parenthood affiliates. As an affiliate of PPGC, you are now being
terminated from the Medicaid program. See | Tex. Admin. Code Sec.
371.1703(¢)(7),

B. My office has information suggesting that fraud and other related program
violations have been committed by a number of Planned Parenthood affiliates
enrolled in the Medicaid program in Texas. For example, there is reliable
information indicating a pattern of illegal billing practices by Planned
Parenthood affiliates across the State.

Our prima facie case of fraud is supported by related cases involving
fraudulent practices identified by Whistleblowers from inside the Texas
Planned Parenthood network. These Whistleblowers alleged in federal court
that Planned Parenthood encourages employees to knowingly file false claims,
See, e.g, Settlement Agreement, Reynolds v. Planned Parenthood Gulf Coast,
No, 9:09-cv-124 (E.D. Tex. July 25, 2013) (lawsuit by a health care assistant
who worked at Planned Parenthood Gulf Coast for 10 years alleging Medicaid
fraud); Memorandum Opinion and Order, Carroll v. Planned Parenthood Gulf
Coast, 4:(2-cv-03505 (S.D. Tex. May 14, 2014) (lawsuit by a former accounts-
receivable manager at Planned Parenthood Gulf Coast alleging Medicaid
fraud).

In Reynolds, a Planned Parenthood Whistleblower alleged sufficient evidence
of fraud to assure the federal court handling the matter that the case was worth
pursuing, after which Planned Parenthood promptly settled the lawsuit for $4.3
million. Furthermore when the United States Department of Justice (DOJ)
announced the 2013 settlement in Reynolds, it openly and compellingly
criticized PPGC for “abuse of programs that are extremely important to the
well-being of many American women.” Further, the DOJ was “particularly
grateful to the Whistleblower” who came forward for revealing that PPGC had

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Notice of Termination
October 19, 2015
Page 4

billed the Texas Medicaid program, Title XX, and the Women’s Health
Program “for items and services that were either medically unnecessary or
were never actually provided.”

The varied program violations by Planned Parenthood revealed in these two
federal cases and the information my office has recently received regarding
similar program violations supports this Notice of Termination. See | Tex.
Admin. Code § 371.1653. As per Paragraph A, supra, your affiliation with
Planned Parenthood entities in Texas about which there is reliable evidence of
fraud and other program violations substantiates your termination as an
enrollee in the Medicaid program, See | TEX, ADMIN. CODE §§ 371.1703(c)(6),
(c)(7), and (c)(8).

Il, PROCESS

You may request an Informal Resolution Meeting (IRM) with my legal staff to discuss the
findings in this Notice of Termination. If you wish to pursue an IRM, you must file a written
request with my office on or before the 30" calendar day from the date you received this Notice
of Termination.

Your request for an IRM must:

{. Be sent by certified mail to my office at the address specified below;
Include a statement as to the specific issues, findings, and legal authority in the Notice of
Termination with which you disagree; and

3. Be signed by you or your attorney.

In the alternative, you may submit, within 30 calendar days of receipt of this Notice, any
documentary evidence and written argument regarding whether this Notice of Termination is

warranted. See | TEX. ADMIN. CODE § 371.1613 (d). You must state the specific issues, findings,
and legal authority that support your contention that this Notice is improper.

In the further alternative, you may both request an IRM and submit documentary evidence and
written argument to contest this Notice of Termination.

I. FINAL TERMINATION

If you fail to respond to this Notice of Termination within 30 calendar days of receipt, then we
will issue a Final Notice of Termination, Alternatively, if the IRM fails to resolve the case, then
we will similarly issue a Final Notice of Termination. You have 15 days after receipt of the Final
Notice of Termination to request an administrative hearing to appeal the Final Notice before an
Administrative Law Judge at the Texas Health and Human Services Commission.

 

A. The effective date of your final termination from the Medicaid program will be either:

17-50282.1205

 
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Notice of Termination
October 19, 2015
Page 5

1. Upon the expiration of 15 calendar days after receipt of the Final Notice of
Termination, if you do not timely request an administrative hearing before HHSC;
or

2. The date of any final order issued by an HHSC Administrative Law Judge affirming
the Final Notice of Termination.

B. Once the Final Notice of Termination becomes effective, the following events
immediately occur:

1, Your enrollment in the Medicaid program terminates;

2. Your Texas Provider Identification Number is revoked; and

3. Your enrollment in the Medicaid program of any other state may be subject to
revocation,

If, after your termination from the Texas Medicaid program, you wish to enter the program
again, you must apply for re-enrollment.

NOTICE

If YOU DO NOT RESPOND TO THIS NOTICE WITHIN 30 CALENDAR DAYS FROM
THE DATE YOU RECEIVED IT, WE WILL ISSUE A FINAL NOTICE OF
TERMINATION,

Requests for an IRM and/or the provision of additional documentary evidence and written
argument should be mailed via certified mail to the following address:

Texas Health and Human Services Commission
Office of Inspector General

Mail Code 1358

P.O, 85200

Austin, Téxas 78708-5200

Respectfully yours,

   

Sthart W. Bowen, Jr.

17-50282.1206

 
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EXHIBIT
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OFFICE OF INSPECTOR GENERAL

TEXAS HEALTH & HUMAN SERVICES COMMISSION

STUART W. BOWEN, JR.
INSPEC VOR GENERAL

December 20, 2016

senek FINAL NOTICE OF TERMINATION OF ENROLLMENT *#****

Via First Class Mail and CMRRR Nos. 7011 2970 0004 0129 1228, 7011 2970 0004 0129 1235,
7011 2970 0004 0129 1242, 7011 2970 0004 0129 1259, 7OLT 2970 0004 0129 1266 and 7011
2970 OOO4 0129 1273

Planned Parenthood Gulf Coast
Registered Agent: Melaney Linton
4600 Gulf Freeway

Houston, Texas 77023-3548

Planned Parenthood of Greater Texas / Planned Parenthood of North Texas
Registered Agent: Kenneth Lambrecht

7424 Greenville Avenue, Suite 206

Dallas, Texas 75231-4534

Planned Parenthood San Antonio / Planned Parenthood South Texas Surgical Center / Planned
Parenthood Association of Cameron and Willacy County

Registered Agent: Jeffrey Hons

2140 Babcock Road

san Antonio, Texas 78229-0000

Re: Planned Parenthood Final Notice of Termination
Dear Provider:
I. FINAL NOTICE OF TERMINATION

This notice is to inform you that the Texas Health and Human Services Commission's Office of
Inspector General (HHSC-IG) is hereby terminating the enrollment of the following providers and
associated Texas Provider Identification (TPT) numbers from the Texas Medicaid program:
Planned Parenthood Gulf Coast, Planned Parenthood of Greater Texas, Planned Parenthood of
North Texas, Planned Parenthood San Antonio, Planned Parenthood South Texas Surgical Center,
and Planned Parenthood Association of Cameron and Willacy County (hereafter Planned
Parenthood, you, or your). | Tex. Admin. Cade § 371.1703(e) (2016). See Attachment A for list
of TPI numbers. Because of the violations listed below, HHSC-IG finds that you are not qualified

 

P.O, Box 85200, Austin, Texas 78708 » (512) 491-2000 _
17-50282.1209

 
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Planned Parenthood

Final Notice of Termination
December 20, 2016

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to provide medical services in a professionally competent, safe, legal and ethical manner under the
relevant provisions of state and federal law pertaining to Medicaid providers.

The basis for your termination and the termination of your affiliates stems from an extensive
undercover video obtained by the Center for Medical Progress at the Planned Parenthood Gulf
Freeway facility in April 2015, which contains evidence that Planned Parenthood violated state
and federal law. The evidence arises from detailed discussions with the Planned Parenthood Gulf
Coast's staff. In addition, the United States House of Representatives’ Select Investigative Panel
(House Investigative Panel) uncovered evidence consistent with and supportive of this
termination.!

The unedited video footage indicates that Planned Parenthood follows a policy of agreeing to
procure fetal tissue, potentially for valuable consideration, even if it means altering the timing or
method of an abortion. These practices violate accepted medical standards, as reflected in federal
and state law, and are Medicaid program violations that justify termination, See 42 U.S.C. § 289g-
1; 42 U.S.C. § 289g-2; | Tex. Admin. Code § 371.1659(2) and (6); 1 Tex. Admin. Code §
371.1661; 1 Tex. Admin. Code § 371,1703(c)(6); 1 Tex. Admin. Code § 371.1605(a); | Tex.
Admin. Code § 371.1603(g)(5) and (7). The HHSC-IG's Chief Medical Officer reviewed the video
and concluded that your willingness to engage in these practices violates generally accepted
medical standards, and thus you are not qualified to provide medical services in a professionally
competent, safe, legal and ethical manner.

The video reveals numerous violations of generally accepted standards of medical practice.
Examples include:

1. ahistory of deviating from accepted standards to procure samples that meet researcher's
needs;

2. ahistory of permitting staff physicians to alter procedures to obtain targeted tissue samples
needed for their specific outside research;

3. a willingness to convert normal pregnancies to the breech position to ensure researchers
receive intact specimens;

4. an admission that “we get what we need to do to alter the standard of care where we are
still maintaining patient safety, still maintaining efficiency in clinic operations, but we
integrate research into it”;

5. an admission that Planned Parenthood gets requests for “information from our study
sponsor on what data they need that is not our standard of care,” and that you provide what

 

' On Getober 7, 2015, the U.S. House of Representatives passed H. Res. 461, which created the Select Investigative
Panel, a bipartisan panel, to conduct a full and complete investigation of the medical practices of abortion providers
and the practices of entities that procure and transfer fetal tissue. On December 1, 2016, the Investigative Panel
referred its evidence to the Texas Attorney General.

 

P.O. Box 85200, Austin, Texas 78708 + (512) 491-2000

17-50282.1210

 

 
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Planned Parenthood

Final Notice of Tennination
December 20, 2016

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is needed by creating a separate research protocol or template that can include medically
unnecessary testing; and

6. a willingness to charge more than the costs incurred for procuring fetal tissue.

In addition, HHSC-IG has evidence that you engaged in misrepresentations about your activity
related to fetal tissue procurements, as revealed by evidence provided by the House Investigative
Panel. These misrepresentations show that you are not qualified to provide medical services in a
professionally competent, safe, legal and ethical manner, and thus they support this termination.
See 1 Tex. Admin. Code § 371.1661; 1 Tex. Penal Code § 37.08; 1 Tex. Admin. Code §
371.1603(g)(6); 42 U.S.C. § 1320a-7(b)(5); 42 U.S.C. § 1320a-7(b)(16); | Tex, Admin Code §
371.1651(15); 1 Tex. Admin. Code § 371.1655(7); 1 Tex. Admin. Code. § 371.1655(24); 1 Tex.
Admin, Code § 371.1605(a).

In the HEISC Medicaid Provider Agreement, you agreed to comply with all of the requirements in
Title 1, Part 15, Chapter 371 of the Texas Administrative Code, the Texas Medicaid Provider
Procedures Manual, and all state and federal laws governing or regulating Medicaid. You further
acknowledged in that agreement that failing to comply with any applicable law, rule, or policy of
the Medicaid program or permitting circumstances that potentially threaten the health or safety of
a client would be grounds for termination of your enrollment.

Your misconduct is directly related to whether you are qualified to provide medical services in a
professionally competent, safe, legal and ethical manner. Your actions violate generally accepted
medical standards, as reflected in state and federal law, and are Medicaid program violations that
justify termination,

HHASC-IG rules provide that if you are affiliated with a provider that commits a program violation
subjecting it to enrollment termination, then the affiliate is also subject to enrollment termination.
See 1 Tex. Admin. Code §371.1703(c)(7); | Tex. Admin. Code §371.1605(@). Furthermore, the
video and other evidence provide numerous indicia of affiliation, including:

_

. common identifying information among affiliates;
2. individual providers working across affiliates;

3. a requirement that affiliates follow protocols and procedures prescribed by the Planned
Parenthood Federation of America:

4, a requirement that affiliates report research studies to the Planned Parenthood Federation
of America;

5. Planned Parenthood Federation of America provides for the legal review of research
contracts;

6. Planned Parenthood Federation of America requires training for affiliates;

7. Planned Parenthood Federation of America provides certification of affiliates;

 

P. O. Box 85200, Austin, Texas 78708 « (512) 491-2000

17-50282.1211

 
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Planned Parenthood

Final Notice of Termination
December 20, 2016

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8. Plarmed Parenthood Federation of America centralizes the oversight, use, and review of
research projects; and

9. Planned Parenthood affiliates may use research agreements at one affiliate to facilitate
additional research at other affiliates.

IL. SCOPE OF TERMINATION
The termination of your enrollment means that:

1. Your contract with the Texas Medicaid program will be nullified on the effective date of
the termination. | Tex. Admin. Code § 371.1703(g)(1);

2. The TPI Number(s) related to your contract will become ineffective on the effective date
of the termination;

3, No items or services furnished under your TPI will be reimbursed by the Medicaid
program, after your enrollment is terminated. 1 Tex. Admin. Code § 371 .1703()(2);

4, You will be required to re-enroll in the Texas Medicaid program, if you wish to participate
as a Texas Medicaid provider. | Tex. Admin. Code § 371.1703(g)(3);

5. Your enrollment or contract in the Medicare program may be subject to termination. 1 Tex.
Admin. Cade § 371.1703(g)(4);

6. Your enrollment or contract in the Medicaid program of any other state may be subject to
termination. Id.; and

7. This termination will remain in effect until such time as you re-enroll and are approved to
participate as a Texas Medicaid provider,

Tt, APPEAL PROCESS

You may appeal this enrollment termination. In order to do so, HHSC-IG must receive a written
request from you asking for an administrative hearing before HHSC's appeals division on
or before the 15th calendar day from the date you receive this notice. 1 Tex. Admin. Code §
371.1703(f)(2).

All submissions, including your request for an administrative hearing, should be mailed to:

Texas Health and Human Services Commission
Office of Inspector General

Mail Code 1358

P.O. Box 85200

Austin, Texas 78708-5200

 

P.O. Box 85200, Austin, Texas 78708 * (512) 491-2000

17-50282.1212

 
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Case 1:15-cv-01058-SS Document 58-1 Filed 01/04/17 Page 33 of 244

Planned Parenthood

Final Notice of Tertnination
December 20, 2016

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Pursuant to 1 Tex. Admin. Code §§ 371.1615(b)(2) and (4), any request for an administrative
hearing must:
1. be sent by certified mail to the address specified above;

2. include a statement as to the specific issues, findings, and/or legal authority in the notice
letter with which you disagree;

3. state the bases for your contention that the specific issues or findings and conclusions of
HHSC-IG are incorrect;

4. be signed by you or your attorney; and

5. atrive at the address specified above on or before the 15th calendar day from the date you
receive this Final Notice of Termination.

IF HHSC-IG DOES NOT RECEIVE A WRITTEN RESPONSE TO THIS NOTICE
WITHIN 15 CALENDAR DAYS FROM THE DATE YOU RECEIVE IT, YOUR FINAL
NOTICE OF TERMINATION WILL BE UNAPPEALABLE.

EV. TERM OF ENROLLMENT TERMINATION
The effective date of this enrollment termination depends upon whether you choose to appeal:

e {f you do not request a hearing as discussed above, the effective date of your enrollment
termination will be the 30th calendar day following your receipt of this Final Notice of
Termination. 1 Tex. Admin. Code §§ 371.1615(c), 371.1617(a)(1), 371.1703(g)(8); or

e If you request an administrative hearing, then the effective date will be the date the
administrative law judge's decision to uphold your enrollment termination becomes final,
| Tex, Admin. Code § 371.1703(g)(7).

This enrollment termination is permanent. If you want to participate as a provider in the Texas
Medicaid program in the future, you will be required to submit a new provider enrollment
application. 1 Tex. Admin. Code § 371.1703(g)(3),

Respectfully 7 ne
en, Jr,

Stuart Ww,
Inspector General

Attachment

 

P. O. Box 85200, Austin, Texas 78708 « (512) 491-2000

17-50282.1213

 

 

 
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Case 1:15-cv-01058-SS_ Document 58-1 Filed 01/04/17 Page 34 of 244

Planned Parenthood

Final Notice of Termination
December 20, 2016

Page 6 of 6

Attachment A

These are the TPIs that Texas Medical Health Partnership reports as affiliated with Planned
Parenthood and which are believed to be active:

2164345-01, 2164360-01, 1269599-06, 1269599-07, 1269599-10, 1269599-11, 2187189-01,
2815037-01, 2815060-01, 1126104-02, 1126104-04, 1126104-06, 1126104-07, 1126104-08,
1126104-09, 1126104-14, 3035461-01, 0834095-01, 0834095-02, 0834095-04, 1126104-05,
1126104-10, 1126104-11, 1126104-12, 1122699-01, 1122699-06, 1272197-02, 1272197-03,
1272197-05, 1272197-07, 1272197-10, 1272197-12, 1364812-06, 1364812-13, 2999112-0L,
29991 12-02, 29991 12-03, 2999112-05, 29991 12-08, 29991 12-09, 3147803-01, 3150385-01,
3150484-01, 3159402-01, 2100489-01, 2120669-01, 2121964-01, 2096414-01, 2103566-01,
2109696-01, 3353781-01, 1373391-01, 1373391-10, 1373391-04, 1373391-11, 1373391-12,
2866873-01

 

P.O. Box $5200, Austin, Texas 78708 « (512) 491-2000

17-50282.1214

 

 

 
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CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

JS 44 (Rev. 10/20) - TXND (Rev.

purpose of initiating the civil docket sheet.

10/20)

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

 

I. (a) PLAINTIFFS

United States of America ex rel Alex Doe; State of Texas

ex rel Alex Doe; State of Louisiana ex rel Alex Doe

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attomeys (Firm Name, Address, and Telephone Number)

Hacker Stephens LLP, 108 Wild Basin Road South,
Suite 250, Austin, Texas 78746, (512) 569-0543

DEFENDANTS

NOTE:
THE TRACT

Attomeys (IfKnown)

 

County of Residence of First Listed Defendant

Planned Parenthood Federation of America, et al.

(IN U.S. PLAINTIFF CASES ONLY)

OF LAND INVOLVED.

IN LAND CONDEMNATION CASES, USE THE LOCATION OF

 

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)

 

Il. CITIZENSHIP OF PRINCIPAL PARTIES (Pace an “x” in One Box for Plaintiff

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(For Diversity Cases Only) and One Box for Defendant)
[«]1 US. Government []3 Federal Question PIF DEF PTF DEF
Plaintiff (U8. Government Not a Party) Citizen of This State | 1 oO 1 Incorporated or Principal Place oO 4 C4
of Business In This State
oO 2 US. Government (4 Diversity Citizen of Another State Ol 2 oO 2 Incorporated and Principal Place CT] 5 O15
Defendant (indicate Citizenship of Parties in Item Ii) of Business In Another State
Citizen or Subject ofa oO 3 oO 3 Foreign Nation Cc] 6 | 6
Foreign Country
IV. NATURE OF SUIT (Ptace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES |
110 Insurance PERSONAL INJURY PERSONAL INJURY | 1625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane | 365 Personal Injury - of Property 21 USC 881 423 Withdrawal X} 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability |} 690 Other 28 USC 157 = 3729(a))
140 Negotiable Instrument Liability C 367 Health Care/ 400 State Reapportionment
150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights |_} 430 Banks and Banking
151 Medicare Act | 330 Federal Employers’ Product Liability 830 Patent |_| 450 Commerce
152 Recovery of Defaulted Liability Oo 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability [| 840 Trademark Corrupt Organizations
CT 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
| 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act | 485 Telephone Consumer
190 Other Contract Product Liability [_] 380 Other Personal | ]720 Labor/Management __ SOCIAL SECURITY Protection Act
195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury oO 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) |__ Exchange
Medical Malpractice Leave Act 864 SSID Title XVI |_| 890 Other Statutory Actions
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS 790 Other Labor Litigation 865 RSI (405(g)) | 891 Agricultural Acts
|_| 210 Land Condemnation 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement | | 893 Environmental Matters
|_| 220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act FEDERAL TAX SUIIS 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate {| 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations T | 530 General r 871 IRS—Third Party 899 Administrative Procedure
[_]290 All Other Real Property [__] 445 Amer. w/Disabilities -[_] 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
| 446 Amer. w/Disabilities -]__| 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
| 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

V. ORIGIN (Place an “X” in One Box Only)

1 Original
ei Proceeding

VI. CAUSE OF ACTION

2 Removed from
State Court

31 USC 3729(a)

 

oO 3 Remanded from
Appellate Court

Brief description of cause:
Qui tam case for recovery of damages under federal and state false claims acts for Medicaid fraud.

Ol 4 Reinstated or Oo 5 Transferred from
Another District
(specify)

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

Reopened

Transfer

6 Multidistrict
Litigation -

Oo 8 Multidistrict
Litigation -
Direct File

 

 

VII. REQUESTED IN (] CHECK IFTHISIS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. $500,000,000 JURY DEMAND: Llyves [X]No
VUI. RELATED CASE(S) s ,
instructi ie
IF ANY ee tO” TODGR DOCKET NUMBER

 

 

DATE
February 5, 2021

SIGNATURE OF ATTORNEY OF RECORD

{si Andrew B. Stephens

 

FOR OFFICE USE ONLY
RECEIPT #

AMOUNT

APPLYING IFP

JUDGE

MAG. JUDGE

 

 
